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                 Exhibit %
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 1                  IN THE UNITED STATES DISTRICT COURT
 2                    NORTHERN DISTRICT OF CALIFORNIA
 3

 4     JUAN ALCAZAR,     individually and on
       behalf of all others similarly
 5     situated,
             Plaintiff,
 6                                                    Case No.:
            vs.                                       4:20-cv-01434-JST (DMR)
 7

       FASHION NOVA,     INC., a California
 8     corporation; and DOES 1 to 10,
       inclusive,
 9           Defendants.


10
11

12
13      VIDEO-RECORDED REMOTE DEPOSITION OF ROBERT D. MOODY
14                            Davie, Florida
15                Thursday, October 26, 2023; 12:06 p.m.
16
17
18                   TAKEN IN BEHALF OF THE DEFENDANT
19
20
21
22     REPORTED BY:
23     Victoria A. Guerrero, CSR, RDR, RMR, CRR
24     Job No. 6161775
25     Pages 1 through 243

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 1                 IN THE UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
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 4     JUAN ALCAZAR, individually and on
       behalf of all others similarly
 5     situated,
             Plaintiff,
 6                                                   Case No.:
            vs.                                      4:20-cv-01434-JST (DMR)
 7

       FASHION NOVA, INC., a California
 8     corporation; and DOES 1 to 10,
       inclusive,
 9           Defendants.


10
11

12
13

14
15           BE IT REMEMBERED that, pursuant to Federal
16     Rules of Civil Procedure, the deposition of ROBERT
17     D. MOODY was taken before Victoria A. Guerrero,
18     California Certified Shorthand Reporter, Registered
19     Diplomate Reporter, Registered Merit Reporter, and
20     Certified Realtime Reporter, on Thursday, October
21     26, 2023, commencing at the hour of 12:06 p.m.,
22     the witness responding to questions by
23     videoconference from Davie, Florida; the questions
24     being propounded and proceedings reported remotely
25     via videoconference.

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 1      R E M O T E         APPEARANCES:
 2
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18      ALSO PRESENT:
19               Scott Slater,             Videographer
20
21
22
23
24
25

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1      are not unique to visually impaired individuals?                   13:29:38

2          A       One more time, please.                                 13:29:41

3          Q       So your conclusions in identifying what                13:29:49

4      accessibility issues on Fashion Nova's website are                 13:29:52

5      not -- sorry.        Strike that.                                  13:29:55

6                  So your conclusions in identifying the                 13:29:58

7      accessibility issues on Fashion Nova's website are                 13:30:00

8      not unique to visually impaired individuals?                       13:30:02

9                   MR. COELHO:     Objection.     Misstates              13:30:11

10             testimony.     Misleading.     You can answer.             13:30:12

11                  THE WITNESS:     I think the issues on                13:30:15

12             Fashion Nova's website exist that impact                   13:30:21

13             visually impaired users would be unique to                 13:30:25

14             those users.     There's just more than one issue.         13:30:30

15             So I hope that answered the question because               13:30:38

16             otherwise I don't know how to answer your                  13:30:40

17             question.                                                  13:30:42

18                  The issues -- the issues that exist that              13:30:42

19             impact a visually impaired person are unique to            13:30:45

20             those people.     Okay?     There's just -- more than      13:30:50

21             just one issue.                                            13:30:52

22     BY MS. TUTUNDJIAN:                                                 13:30:53

23         Q       My question is slightly different.           If your   13:30:54

24     analysis as you've now testified was that you were                 13:30:57

25     auditing Fashion Nova's website to determine whether               13:31:00

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1      or not any disabled person had accessibility issues,         13:31:03

2      then your methodology and conclusions relate                 13:31:08

3      generally to people with disabilities.                       13:31:12

4                  In other words, they are not specific to         13:31:17

5      individuals who are visually impaired.                       13:31:18

6                   MR. COELHO:    Objection.    Misstates prior    13:31:22

7              testimony.    Asked and answered.    You can         13:31:25

8              answer.                                              13:31:29

9                   THE WITNESS:    I believe my testimony and      13:31:31

10             my report show that my methodology and my audit      13:31:35

11             of the Fashion Nova website was to test the          13:31:41

12             website for compliance with WCAG and whether or      13:31:46

13             not barriers existed for disabled people             13:31:54

14             including visually disabled people.                  13:31:57

15                  My conclusion is that barriers exist and        13:32:01

16             that the barriers exist on several levels and        13:32:06

17             they would affect people with different              13:32:09

18             disabilities including visually impaired and         13:32:17

19             others.   So my -- best I got.                       13:32:19

20     BY MS. TUTUNDJIAN:                                           13:32:37

21         Q       So one of your opinions is that Fashion          13:32:38

22     Nova's website is not WCAG-compliant; is that                13:32:39

23     correct?                                                     13:32:46

24         A       The website has barriers and it does have        13:32:46

25     issues with WCAG provisions.                                 13:32:50

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1              my manual process.                                    13:45:39

2      BY MS. TUTUNDJIAN:                                            13:45:41

3          Q       For the automated review is what you mean?        13:45:43

4          A       Right.                                            13:45:47

5                   MR. COELHO:     Objection.    Vague.   You can   13:45:48

6              answer.                                               13:45:49

7      BY MS. TUTUNDJIAN:                                            13:45:51

8          Q       Have courts accepted the WCAG Guidelines --       13:45:57

9                   MR. COELHO:     Objection.    Calls for --       13:46:04

10     BY MS. TUTUNDJIAN:                                            13:46:06

11         Q       Sorry.                                            13:46:06

12                 So have courts accepted WCAG Guidelines as        13:46:07

13     industry standard for determining web accessibility?          13:46:10

14                  MR. COELHO:     Objection.    Calls for legal    13:46:14

15             conclusion.     You can answer.                       13:46:15

16                  THE WITNESS:     I believe it has, yes.          13:46:20

17     BY MS. TUTUNDJIAN:                                            13:46:22

18         Q       And have current agencies accepted WCAG           13:46:29

19     Guidelines as industry standards for assessing web            13:46:32

20     accessibility?                                                13:46:39

21         A       I don't know.                                     13:46:41

22         Q       Is it your opinion that Fashion Nova's            13:46:47

23     website is not ADA-complaint?                                 13:46:50

24         A       Yes.                                              13:46:52

25         Q       Do you have any specific legal training as        13:46:57

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1      to ADA laws?                                               13:46:59

2          A    No.                                               13:47:14

3          Q    So what is your basis for concluding that         13:47:14

4      Fashion Nova's website is not ADA-complaint?               13:47:17

5          A    One more time, please.                            13:47:26

6          Q    So what is your basis for determining that        13:47:28

7      Fashion Nova's website is not ADA-complaint?               13:47:30

8          A    Disabled people access the website and had        13:47:40

9      run into barriers which prevented them from using          13:47:44

10     the website.     I confirmed that the barriers existed     13:47:47

11     as well as others.     That WCAG standards weren't met.    13:47:51

12     That seems to be the standard that is being followed       13:48:03

13     for compliance and for meeting the ADA, but, but I'm       13:48:09

14     not trying to provide a legal interpretation here.         13:48:20

15         Q    Well, to be clear, your testimony is that         13:48:28

16     Fashion Nova's website is not ADA-complaint, right?        13:48:30

17         A    The ADA compliance of Fashion Nova requires       13:48:36

18     compliance with WCAG.     They're not WCAG-compliant.      13:48:40

19     That's my position.                                        13:48:44

20         Q    And one of the bases that you identified is       13:48:44

21     that disabled persons have barriers in accessing           13:48:47

22     Fashion Nova's website and therefore it is not             13:48:50

23     ADA-complaint?                                             13:48:52

24               MR. COELHO:     Objection.    Go ahead.          13:48:57

25               THE WITNESS:     That the barriers were --       13:49:01

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1              that the barriers were not WCAG-compliant so           13:49:06

2              yes, you're right.     So the barriers are not         13:49:10

3              compliant with WCAG and WCAG's required, as a          13:49:13

4              standard, for the site.                                13:49:20

5      BY MS. TUTUNDJIAN:                                             13:49:22

6          Q       So any time a website is not                       13:49:22

7      WCAG-compliant, it is considered not compliant with            13:49:26

8      the ADA laws?                                                  13:49:32

9                   MR. COELHO:     Objection.    Misstates prior     13:49:34

10             testimony.    You can answer.     Sorry.   Calls for   13:49:35

11             legal conclusion.     You can answer.                  13:49:38

12                  THE WITNESS:     Would you repeat that,           13:49:43

13             please?                                                13:49:44

14     BY MS. TUTUNDJIAN:                                             13:49:44

15         Q       Sure.    So any time a website is not              13:49:44

16     WCAG-compliant, it is considered not compliant with            13:49:50

17     ADA laws?                                                      13:49:55

18                  MR. COELHO:     Same objections.                  13:49:56

19                  THE WITNESS:     I'm going to need you to         13:50:08

20             rephrase the question because I don't quite            13:50:09

21             understand your question.                              13:50:11

22     BY MS. TUTUNDJIAN:                                             13:50:13

23         Q       Sure.    You have concluded that Fashion           13:50:13

24     Nova's website is not ADA-complaint because disabled           13:50:17

25     persons have barriers, right, in accessing Fashion             13:50:23

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1       Nova's website?                                                 13:50:29

2                    MR. COELHO:     Objection.    Vague and            13:50:31

3               confusing.     You can answer.                          13:50:31

4       BY MS. TUTUNDJIAN:                                              13:50:36

5           Q       Let me break it down by your two bases as I         13:50:37

6       understand your testimony.                                      13:50:39

7                   You testified that Fashion Nova's website           13:50:39

8       is not ADA-complaint and you offered two bases for              13:50:41

9       your opinion.        The first was that disabled persons        13:50:44

10      experience barriers in accessing Fashion Nova's                 13:50:48

11      website and the second was that there are aspects of            13:50:51

12      Fashion Nova's website that are not WCAG                        13:50:55

13      Guideline-adherent; is that correct?                            13:50:57

14          A       I think you missed a step in there.        So I     13:51:06

15      did testify that the -- that disabled users accessed            13:51:09

16      Fashion Nova's website and ran into barriers.           Okay?   13:51:14

17      The barriers they ran into were not WCAG-compliant.             13:51:23

18      And WCAG compliance would be a requirement, at least            13:51:28

19      at the AA level.        And if it's not, then the website       13:51:36

20      would not be ADA-complaint.                                     13:51:41

21          Q       Okay.     And so my question was just that,         13:51:45

22      which is if a website is not WCAG-compliant then it             13:51:48

23      is not ADA-complaint?                                           13:51:52

24                   MR. COELHO:     Objection.    Misstates            13:51:55

25              testimony.     Objection.   Vague and confusing.        13:51:57

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1               You can answer, if you understand the question.    13:52:00

2                    THE WITNESS:   A website that is not WCAG     13:52:08

3               2A-compliant is not ADA-complaint, does not        13:52:09

4               comply with the ADA.                               13:52:17

5       BY MS. TUTUNDJIAN:                                         13:52:18

6           Q       Did you have any experience relating to ADA    13:52:29

7       compliance for websites before working on this             13:52:32

8       matter?                                                    13:52:34

9           A       Yes.                                           13:52:34

10          Q       What was the nature of your experience?        13:52:37

11          A       I have provided consulting services to         13:52:48

12      plaintiff attorneys and had audited other websites.        13:52:54

13      I have worked with defendant companies in bringing         13:53:02

14      their websites into compliance and have provided           13:53:06

15      post-settlement audits of sites as well as consulted       13:53:13

16      with those companies to bring themselves into              13:53:20

17      compliance.                                                13:53:27

18          Q       And about on average, how many companies       13:53:32

19      have you consulted with?                                   13:53:35

20          A       I don't understand in what capacity and --     13:53:43

21          Q       In the capacity that we're talking about,      13:53:48

22      which is your relevant work experience in auditing         13:53:50

23      websites.                                                  13:53:56

24          A       Are you asking me how many websites I've       13:53:58

25      audited?                                                   13:54:00

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 1      testimony when we get there .                              14 : 18:49

 2               Okay.     So starting off with education, you     14:18:52

 3      have three listed.     There's a Nova Southeastern         14:18:54

 4      University where you obtained a Bachelor of Science        14:18:59

 5      in 1990; is that right ?                                   14:19:03

 6          A    That is correct .                                 14:19:07

 7          Q    And then the St . Thomas University School        14:19:07

 8      of Law where you obtained the JD in 1993?                  14:19:10

 9          A    That's correct.                                   14:19:17

10          Q    Did you also end up taking the Bar exam?          14:19:18

11          A    No, I did not .                                   14:19:20

12          Q    So you never practiced as an attorney?            14:19:24

13          A    No, I'm not an attorney .                         14:19:27

14          Q    And then we have the Oxford University            14:19:31

15      Global Business in 2017?                                   14:19:35

16          A    Yes .                                             14:19:38

17          Q    And so looking at all three educational           14:19:49

18      experiences, did you have any courses on web               14:19:51

19      accessibility?                                             14:20:04

20          A    No .                                              14:20:05

21          Q    Any courses on ADA compliance?                    14:20:05

22          A    No .                                              14:20:07

23          Q    Any web accessibility training?                   14:20:07

24          A    From the three listed under my education?         14:20:10

25          Q    Right .                                           14:20:15

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 1          A       No .                                                14:20:15

 2          Q       Any ADA training?                                   14:20:18

 3                   MR. COELHO:      Objection.    Vague.    You can   14:20:21

 4              answer .                                                14:20:22

 5      BY MS . TUTUNDJIAN:                                             14:20:26

 6          Q       Again,     just focusing on your three              14:20:26

 7      educational experiences.                                        14:20:28

 8          A       I took a labor law course in law school and         14:20:29

 9      I think there was an ADA component, but that was in             14:20:32

10      '93 so it's been a few years.                                   14:20:36

11          Q       Any workshops on web accessibility?                 14:20:40

12          A       Yes .     But not associated with the three         14:20:45

13      under "Education . "                                            14:20:48

14          Q       So just focusing on the three educational           14:20:49

15      ones right now .                                                14:20:51

16          A       So no .     So the answer is no .                   14:20:52

17          Q       Any conferences on web accessibility?               14:20:55

18                   MR . COELHO:     Objection .   Vague .   You can   14:20:58

19              answer .                                                14:20:59

20                   THE WITNESS:      Based on the three               14:21:01

21              presented, no .                                         14:21:02

22      BY MS . TUTUNDJIAN:                                             14:21:03

23          Q       Any webinars on web accessibility?                  14:21:04

24                   MR. COELHO:      Objection.    Vague.    You can   14:21:10

25              answer .                                                14:21:12

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1                    THE WITNESS:     No.                              14:21:12

2       BY MS. TUTUNDJIAN:                                             14:21:12

3           Q       Any certifications on web accessibility?           14:21:13

4           A       No.                                                14:21:16

5                    MR. COELHO:     Objection.    Vague.   You can    14:21:17

6               answer.                                                14:21:18

7                    THE WITNESS:     No.                              14:21:20

8       BY MS. TUTUNDJIAN:                                             14:21:20

9           Q       Moving on to your certifications.          You     14:21:29

10      identify six certifications on your CV; is that                14:21:31

11      right?                                                         14:21:34

12                   MR. COELHO:     Objection.    Document speaks     14:21:35

13              for itself.     You can answer.                        14:21:36

14                   THE WITNESS:     Yes.                             14:21:39

15      BY MS. TUTUNDJIAN:                                             14:21:41

16          Q       Any additional certifications that are not         14:21:43

17      otherwise listed here?                                         14:21:44

18          A       No.                                                14:21:53

19          Q       So looking at the first one, certified as          14:21:56

20      an Information Systems Auditor, CISA, Information              14:21:58

21      Systems Audit and Control Association, 2002.                   14:22:03

22                  What does this refer to?                           14:22:06

23                   MR. COELHO:     Objection.    Compound.     You   14:22:10

24              can answer.                                            14:22:13

25                   THE WITNESS:     Would you repeat that last       14:22:14

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1               part?     Because I didn't hear you.                     14:22:15

2       BY MS. TUTUNDJIAN:                                               14:22:16

3           Q       Oh, yeah.     I'm just looking at your first         14:22:17

4       certification which is the CISA one.            My question is   14:22:19

5       what does this refer to?                                         14:22:23

6                       MR. COELHO:    Objection.   Document speaks      14:22:25

7               for itself.     You can answer.                          14:22:26

8                       THE WITNESS:    The CISA is a Certified          14:22:28

9               Information Systems Auditor.        It's a               14:22:30

10              certification in the area of information                 14:22:39

11              systems auditing.       How to do it.                    14:22:43

12      BY MS. TUTUNDJIAN:                                               14:22:54

13          Q       It's not related to web accessibility?               14:22:54

14                      MR. COELHO:    Objection.   Vague.   Calls for   14:22:57

15              a legal conclusion.                                      14:22:59

16                      THE WITNESS:    It has to do with auditing       14:23:06

17              IT systems, which a website would be an IT               14:23:07

18              system.     So in that sense, yes, it's directly         14:23:10

19              relevant.                                                14:23:16

20      BY MS. TUTUNDJIAN:                                               14:23:16

21          Q       So what did you do to obtain this                    14:23:17

22      certification?                                                   14:23:19

23          A       I'm sorry?                                           14:23:20

24          Q       What did you do in order to obtain this              14:23:21

25      certification?                                                   14:23:23

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1                    MR. COELHO:    Objection.   Vague.     You can   14:23:25

2               answer.                                               14:23:26

3                    THE WITNESS:    At the time in which I           14:23:30

4               obtained this certification I believe it              14:23:32

5               required, I want to say, five years -- five           14:23:35

6               years of actual experience performing IT              14:23:45

7               audits.   There was also a bluebook exam that I       14:23:47

8               believe went four hours with a minimum passing        14:23:56

9               score.                                                14:24:00

10                   There is also a continuing education             14:24:02

11              requirement of -- I want to say it's a minimum        14:24:08

12              of 20 hours a year and a hundred hours every          14:24:14

13              three years, so the math doesn't add up, it           14:24:23

14              never has, but it's a hundred hours every three       14:24:26

15              years with 20 a year as a minimum.        And I       14:24:28

16              maintained that since 2002.                           14:24:39

17      BY MS. TUTUNDJIAN:                                            14:24:41

18          Q       So what aspect of this training relates           14:24:41

19      specifically to web accessibility issues?                     14:24:43

20          A       Understanding the development of a                14:24:54

21      methodology for testing IT systems, pretty much this          14:24:55

22      would be the process -- this would be what I've               14:25:04

23      relied on as my training and understanding for                14:25:14

24      developing a process that I follow and the                    14:25:17

25      components that was used.                                     14:25:19

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1                You know, it taught me to be an IT auditor         14:25:21

2       and then there I applied it to this specific problem        14:25:26

3       which is auditing websites for compliance.                  14:25:30

4           Q    How did you apply it?    How did you apply         14:25:36

5       your IT training to auditing websites for website           14:25:38

6       accessibility?                                              14:25:43

7           A    Well, the process of becoming a CISA               14:26:00

8       requires you to understand the environment that             14:26:06

9       you're testing, understanding the components within         14:26:08

10      the environment that you're testing, identifying            14:26:11

11      what can be tested, identifying the standards that          14:26:15

12      you're going to be measured against.                        14:26:19

13               These are all things in which I would have         14:26:20

14      learned and mastered while obtaining my CISA.         And   14:26:24

15      then begin to apply throughout the five years prior         14:26:28

16      to becoming a CISA as well as since then.                   14:26:31

17               Those same elements are applicable when            14:26:36

18      developing an audit model for websites.     Because I       14:26:39

19      need to understand what the website is, I need to           14:26:42

20      understand what exactly I'm testing for, I need to          14:26:49

21      find a standard that I'm testing against.      Then         14:26:52

22      developing the process for actually testing it and          14:26:54

23      then making a determination as to which components          14:26:57

24      are compliant and not.                                      14:26:59

25               So it's directly related.                          14:27:01

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1           Q       Okay.    And earlier you testified that you         14:27:04

2       did not audit a website for web accessibility until             14:27:06

3       about 2017 or 2018?                                             14:27:11

4           A       That's correct.     That's the first time I         14:27:14

5       was involved in the industry.        That's correct.            14:27:16

6           Q       So your CISA training would not have                14:27:21

7       overlap of web accessibility until 2017 or 2018?                14:27:25

8                    MR. COELHO:    Objection.    Misstates prior       14:27:31

9               testimony.    You can answer.                           14:27:32

10                   THE WITNESS:     I don't think website             14:27:38

11              accessibility was an issue in 2002.        So you're    14:27:38

12              absolutely right.     I became involved in the          14:27:43

13              issues of website accessibility in 2017 and             14:27:50

14              that's when I took the skills which at that             14:27:53

15              point I would have had 15 years -- another 5 --         14:27:57

16              almost 20 years of auditing websites.        And I      14:28:01

17              applied that 20 years' experience to the issue          14:28:05

18              of website compliance.                                  14:28:11

19      BY MS. TUTUNDJIAN:                                              14:28:13

20          Q       And your CISA certification, not related to         14:28:14

21      ADA training?                                                   14:28:19

22                   MR. COELHO:    Objection.    Vague.    Calls for   14:28:22

23              a legal conclusion.     You can answer.                 14:28:24

24                   THE WITNESS:     I don't understand your           14:28:29

25              question.    Would you repeat it, please?               14:28:29

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 1      BY MS. TUTUNDJIAN:                                             14:28:31

 2          Q        Sure.     In obtaining your certification for     14:28:31

 3      CISA, was there any ADA training involved?                     14:28:38

 4          A        No.                                               14:28:41

 5          Q        And was there any ADA compliance for              14:28:42

 6      website training involved?                                     14:28:45

 7          A        No.                                               14:28:49

 8          Q        Your next certification is the CISM,              14:28:50

 9      certified as an Information Security Manager, which            14:28:56

10      you obtained in 2003?                                          14:28:58

11          A        Yes, ma'am.                                       14:29:04

12          Q        And what does this refer to?                      14:29:04

13          A        This is a certification in the area of            14:29:07

14      information security management.           Both, say, from     14:29:11

15      the ground up for information security,                        14:29:19

16      understanding how security is applied in both a                14:29:24

17      physical and virtual environment.           Virtual being      14:29:34

18      internet .     Okay?     Physical being the IT structures      14:29:39

19      where there's cables and wires running.                        14:29:42

20                   So that certification has to do with that,        14:29:47

21      very -- very similar to the CISA, but applicable to            14:29:54

22      the area of information secured.                               14:30:02

23          Q        And this -- the training involved in              14:30:05

24      obtaining the certification was not related to web             14:30:07

25      accessibility?                                                 14:30:14

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 1          A       No.                                              14:30:15

 2          Q       And it wasn't related to ADA training?           14:30:16

 3          A       No.                                              14:30:20

 4          Q       And it wasn't related to ADA compliance for      14:30:20

 5      websites?                                                    14:30:23

 6          A       No.                                              14:30:24

 7          Q       Next one, Certified in Computer Forensics,       14:30:26

 8      2003.   Did this one relate to web accessibility?            14:30:29

 9          A       No.                                              14:30:34

10          Q       How about ADA training?                          14:30:34

11          A       No.                                              14:30:37

12          Q       ADA compliance for websites?                     14:30:39

13          A       No.     It wasn't part of the training.          14:30:43

14          Q       Okay.    Next one, Certified as an Access        14:30:46

15      Data Certified Examiner, 2009 and 2015.                      14:30:48

16                  Does this relate to web accessibility?           14:30:54

17          A       No.                                              14:30:57

18          Q       How about ADA training?                          14:30:57

19          A       No.                                              14:30:59

20          Q       ADA compliance for websites?                     14:31:00

21          A       No.                                              14:31:02

22          Q       Next one, Certified in Blockchain                14:31:04

23      Essentials, 2021.       Does this certification relate to    14:31:07

24      web accessibility?                                           14:31:12

25          A       No.                                              14:31:13

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 1          Q       How about ADA training?                         14:31:14

 2          A       No.                                             14:31:16

 3          Q       How about ADA compliance for websites?          14:31:17

 4          A       No.                                             14:31:19

 5          Q       And the last one, Forensic Explorer             14:31:20

 6      Certified Examiner, 2021.       Does this relate to web     14:31:23

 7      accessibility?                                              14:31:28

 8          A       No.                                             14:31:30

 9          Q       How about ADA training?                         14:31:31

10          A       No.                                             14:31:32

11          Q       How about ADA compliance for websites?          14:31:33

12          A       No.                                             14:31:36

13          Q       Mr. Moody, are you familiar with the            14:31:38

14      Certified Professional in Web Accessibility, CPWA?          14:31:41

15                   MR. COELHO:    Objection.   Vague.   You can   14:31:47

16              answer.                                             14:31:49

17                   THE WITNESS:    I am.                          14:32:00

18      BY MS. TUTUNDJIAN:                                          14:32:01

19          Q       What does that refer to?                        14:32:01

20          A       It has to do with a certification               14:32:03

21      specifically relating to -- the last time I looked          14:32:04

22      at the certification, multiple parts.        It was --      14:32:12

23      eventually works into you complete the training, you        14:32:17

24      take a test, you pass the test, and you obtain the          14:32:20

25      certification.                                              14:32:22

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 1          Q       In web accessibility, right?                           14:32:25

 2          A       That's correct.                                        14:32:29

 3          Q       And these certifications are unmatched in              14:32:34

 4      terms of industry recognition; is that right?                      14:32:36

 5                      MR. COELHO:     Objection.                         14:32:40

 6                      THE WITNESS:     I'm sorry.                        14:32:43

 7                      MR. COELHO:    You can answer.                     14:32:44

 8      BY MS. TUTUNDJIAN:                                                 14:32:44

 9          Q       CPWA certification is unmatched in terms of            14:32:44

10      industry recognition in terms of web accessibility                 14:32:50

11      certifications?                                                    14:32:55

12                      MR. COELHO:     Objection.    Misstates prior      14:32:56

13              testimony.     Calls for speculation as to                 14:32:58

14              "unmatched."     You can answer.                           14:32:59

15                      THE WITNESS:     I believe the certification       14:33:04

16              is one of very few that exist within the                   14:33:05

17              industry.     So I'm not sure how to classify it           14:33:08

18              as unmatched as I don't think that there's a               14:33:13

19              whole lot out there to compare it to.              But I   14:33:15

20              yeah.     The entire -- yeah.        It's a good           14:33:24

21              certification.        Something to work towards.           14:33:32

22      BY MS. TUTUNDJIAN:                                                 14:33:37

23          Q       What are the other certifications in the               14:33:37

24      industry that you refer to?                                        14:33:41

25          A       Off the top of my head, I can't recall the             14:33:45


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 1      acronyms.                                                         14:33:46

 2          Q       How many are there?                                   14:33:49

 3          A       I'm sorry?                                            14:33:50

 4          Q       How many are there?                                   14:33:50

 5          A       A couple other ones, I believe.                       14:33:56

 6          Q       And are you CPWA certified?                           14:34:00

 7          A       Not at the present time.                              14:34:04

 8          Q       Have you ever been CPWA certified?                    14:34:06

 9          A       No, I have not.                                       14:34:14

10          Q       And so you didn't pass the Certified                  14:34:15

11      Professional and Accessibility core competency exam?              14:34:17

12                   MR. COELHO:    Objection.    Misstates prior         14:34:22

13              testimony.    You can answer.                             14:34:24

14                   THE WITNESS:     I haven't taken that                14:34:27

15              certification test.                                       14:34:29

16      BY MS. TUTUNDJIAN:                                                14:34:32

17          Q       And what about the Web Accessibility                  14:34:32

18      Specialist exam, have you taken that exam?                        14:34:36

19          A       I haven't taken any of the certification              14:34:38

20      exams.     I have been taking the coursework, again, as           14:34:41

21      part of the certification process -- or the                       14:34:48

22      continuing education credit process.         But there's          14:34:53

23      160 hours a week and most of my hours are full.              So   14:34:59

24      I don't get the school time as one would like.                    14:35:03

25          Q       So you do not have any certifications in              14:35:11

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 1      web accessibility?                                           14:35:13

 2          A       Not currently.                                   14:35:14

 3          Q       And you never have?                              14:35:17

 4          A       Not currently.                                   14:35:19

 5          Q       Aside from currently, you've never held          14:35:25

 6      them previously as well?                                     14:35:28

 7          A       That's correct.                                  14:35:29

 8          Q       Okay.    Moving on.                              14:35:33

 9                  You have a section on blockchain training        14:35:46

10      on your CV.       I'm going to assume this does not          14:35:48

11      relate to web accessibility?                                 14:35:51

12                   MR. COELHO:     Objection.   Vague.             14:35:54

13                   THE WITNESS:     It does not.                   14:35:55

14                   MR. COELHO:     You can answer.                 14:35:57

15                   THE WITNESS:     It does not.                   14:35:58

16      BY MS. TUTUNDJIAN:                                           14:35:58

17          Q       So the next section we have is on ADA/Web        14:35:59

18      Accessibility Training.        Is this the complete and      14:36:04

19      accurate list of all of your ADA/web accessibility           14:36:08

20      training?                                                    14:36:14

21          A       No.     It appears there are some courses from   14:36:15

22      2023 that did not make this copy.                            14:36:19

23          Q       Okay.    What are the courses?                   14:36:22

24          A       I'm sorry?                                       14:36:25

25          Q       What are the courses?                            14:36:27

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 1          A      I don't need to go off the record, but can             14:36:33

 2      I look at something to give you that information?                 14:36:34

 3          Q      Let's just revisit after the lunch break .             14:36:39

 4          A      I'm sorry?                                             14:36:43

 5          Q      We can just revisit that after the lunch               14:36:44

 6      break when you've had an opportunity to review your               14:36:46

 7      notes .                                                           14:36:48

 8          A      Okay .                                                 14:36:49

 9          Q      Okay.    So the first one, Web Accessibility,          14:36:52

10      Learn the Best Practice, Tools, and Techniques.                   14:37:00

11      What was the nature of this training?                             14:37:01

12          A      It was an introduction to web accessibility            14:37:11

13      to provide a foundation for people .       It's sort of           14:37:17

14      Web Accessibility 101, provided a background and an               14:37:23

15      understanding for people that were looking to bring               14:37:26

16      their websites into compliance .                                  14:37:30

17          Q      And where did the training take place?           Was   14:37:34

18      it online or was it in person?                                    14:37:39

19          A      It was online .   All of the training was              14:37:41

20      online .                                                          14:37:47

21          Q      I'm sorry?                                             14:37:48

22          A      All of the training was online .                       14:37:49

23          Q      Who was the training hosted by?                        14:37:53

24          A      I believe that one was Udemy and I don't               14:37:56

25      recall the professor .                                            14:37:58

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 1          Q       Is Udemy accredited?                              14:38:01

 2                   MR. COELHO:     Objection.    Vague.   You can   14:38:03

 3              answer.                                               14:38:05

 4                   THE WITNESS:      I don't understand the         14:38:08

 5              question .   Accredited by whom?     Or is that the   14:38:09

 6              question?                                             14:38:16

 7      BY MS . TUTUNDJIAN:                                           14:38:17

 8          Q       Yeah, if it's accredited .      I mean, there     14:38:17

 9      are educational programs, university, schools that            14:38:19

10      are accredited.       Is this program accredited or is it     14:38:22

11      an unaccredited program?                                      14:38:25

12          A       I have no idea .                                  14:38:33

13          Q       When was the training?                            14:38:37

14          A       I will be able to tell you after the break .      14:38:42

15      Okay?                                                         14:38:44

16          Q       And what did you do for the training?             14:38:48

17          A       I completed the course online and there was       14:38:58

18      no test per se, but just worked through the examples          14:39:08

19      and completed the online class .                              14:39:11

20          Q       So it was watching videos?                        14:39:13

21          A       Pretty much, yeah .    Yes .                      14:39:16

22          Q       How long was the course?                          14:39:20

23          A       I don't recall .                                  14:39:27

24          Q       Five hours, ten hours, fifty hours?               14:39:28

25          A       Yeah .   No .   It wasn't 50 hours, but I don't   14:39:32

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 1      recall .     It was most likely an hour or two, but I               14:39:34

 2      don't recall.                                                       14:39:40

 3          Q        Were there any training materials?                     14:39:44

 4                       MR . COELHO:   Objection .     Vague .   You can   14:39:47

 5              answer .                                                    14:39:49

 6                       THE WITNESS:    I believe there were, but --       14:39:56

 7              yeah .     I believe there were, but I -- at this           14:39:58

 8              point I would not have kept them .                          14:40:02

 9      BY MS. TUTUNDJIAN:                                                  14:40:04

10          Q        Okay.     Did you take any notes during the            14:40:06

11      training?                                                           14:40:08

12          A        Yeah .    But once again, I wouldn't know what         14:40:14

13      I've done with them .                                               14:40:24

14          Q        And do you have a certificate of                       14:40:28

15      completion?                                                         14:40:30

16          A        I'm sorry?                                             14:40:30

17          Q        Do you have a certificate of completion?               14:40:30

18          A        I'm sure there was one, but I don't know               14:40:33

19      where it is .                                                       14:40:34

20          Q        Next one we have, Web Accessibility                    14:40:39

21      Training, Selenium, BDD, AXE, Pally, JAWS, NVDA .                   14:40:43

22                       MR . COELHO:   Objection .     Misstates the       14:41:01

23              document .                                                  14:41:03

24                       MS. TUTUNDJIAN:        What am I misstating?       14:41:03

25                       MR . COELHO:   S-t .                               14:41:06

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 1                   MS . TUTUNDJIAN:      Huh?                        14:41:07

 2                   MR. COELHO:    S-t.     Web testing, yeah.        14:41:07

 3                   MS. TUTUNDJIAN:       It's web accessibility      14:41:07

 4              testing .                                              14:41:14

 5                   MR . COELHO:   You said training .       That's   14:41:15

 6              why I said that .                                      14:41:16

 7      BY MS. TUTUNDJIAN:                                             14:41:16

 8          Q       Oh, okay .   So to be clear, it says, Web          14:41:16

 9      Accessibility Testing-Selenium, BDD, AXE, Pally,               14:41:19

10      JAWS, NVDA; is that correct?                                   14:41:27

11                  Sorry, Mr . Moody .     Did I read that            14:41:31

12      correctly?                                                     14:41:32

13          A       You did .                                          14:41:33

14          Q       Okay.   What was the nature of this                14:41:34

15      training?                                                      14:41:38

16          A       It was the introduction to accessibility           14:41:38

17      tools.                                                         14:41:43

18          Q       Kind of like the one we just talked about,         14:41:50

19      web accessibility?                                             14:41:52

20          A       More about with JAWS, I'm sure you know is         14:41:53

21      a screen reader, NVDA is a screen reader.             It's     14:41:56

22      about the introduction to different products that              14:42:00

23      would be used within the space to help better access           14:42:05

24      for disabled people.                                           14:42:12

25          Q       And where did the training take place,             14:42:20

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 1      online or in person?                                         14:42:22

 2          A      Online.                                           14:42:23

 3          Q      Do you know who hosted the training?              14:42:24

 4          A      I do not know the professor .      I don't        14:42:29

 5      recall .   I didn't record that information .       I        14:42:32

 6      believe all of the training on this list -- most of          14:42:34

 7      them would have been through Udemy .        Some of them     14:42:41

 8      would have been through some of the NGOs, which I            14:42:44

 9      can get you the name of.        But it would have been       14:42:54

10      either an ADA NGO or it would have been found on             14:43:07

11      Udemy .                                                      14:43:13

12          Q      You just don't know one way or the other?         14:43:15

13          A      Yeah, I don't recall .      It's been a while .   14:43:20

14          Q      When was this training?                           14:43:28

15          A      I will let you know after the break .             14:43:30

16          Q      And what did you do for the training?             14:43:32

17          A      I attended -- watched the videos and              14:43:36

18      followed along and downloaded a copy of JAWS and             14:43:44

19      used the software .      There's demo versions .             14:43:52

20          Q      And how long was the training?                    14:44:00

21          A      A few hours .                                     14:44:03

22          Q      More or less than five hours?                     14:44:09

23          A      Yeah, I don't recall .                            14:44:19

24          Q      Any training materials?                           14:44:20

25          A      I'm sure there was, but I would not have          14:44:21

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 1      retained that .                                              14:44:23

 2           Q      Same for notes?                                  14:44:24

 3           A      That's correct.                                  14:44:26

 4           Q      Next, Responsive Web and Mobile Development      14:44:34

 5      in HTML, CSS, and JavaScript .                               14:44:36

 6                  What was the nature of this training?            14:44:43

 7           A      This addressed specific issues within the        14:44:49

 8      programming languages of HTML, CSS, and JavaScript .         14:44:53

 9      So this was addressing specific concerns that one            14:45:00

10      might run into when providing a website or a mobile          14:45:06

11      app or a mobile website and the issues one would run         14:45:13

12      into .                                                       14:45:24

13           Q      And was this also online?                        14:45:25

14           A      Yes .                                            14:45:27

15           Q      Okay .   And what did you have to do for the     14:45:28

16      training?                                                    14:45:37

17           A      Again, more videos, reviewing some codec         14:45:38

18      that showed specific problems, they would                    14:45:42

19      demonstrate a problem and show what the code looked          14:45:45

20      like .   Things of that nature .                             14:45:47

21           Q      And how long was the training?                   14:45:52

22           A      All of these are just a few hours, you           14:45:55

23      know .   I don't recall specifically .                       14:45:59

24           Q      Is it something you did just sitting now,        14:46:08

25      once and one seating?                                        14:46:09

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 1          A        I think this one I actually took a                 14:46:11

 2      couple -- a couple trips.          But I don't know if it       14:46:14

 3      was the complex nature and I needed a break or                  14:46:18

 4      whatever .     But this one I recall was a little more          14:46:22

 5      intense .                                                       14:46:27

 6          Q        Okay .    So all the training that we have         14:46:28

 7      listed here more or less,         just to streamline it, was    14:46:30

 8      everything here online?                                         14:46:35

 9          A        Yes.                                               14:46:36

10          Q        Okay.     And it was -- the nature of the          14:46:37

11      training was watching videos?                                   14:46:43

12                    MR . COELHO:     Objection .   Misstates          14:46:45

13              testimony .     You can answer .                        14:46:47

14                    THE WITNESS:      Watching videos, working        14:46:49

15              through the exercise, problem solving .                 14:46:50

16      BY MS . TUTUNDJIAN:                                             14:46:54

17          Q        Any tests that were required in order to           14:46:55

18      complete the trainings?                                         14:46:58

19          A        Not for these .                                    14:46:59

20          Q        Any other ones that did require tests in           14:47:01

21      the ADA web accessibility training?                             14:47:06

22          A        Yes .    Actually, the training I've done in       14:47:13

23      2023 did require -- there was testing and it's                  14:47:15

24      actually working towards one of the certifications.             14:47:22

25      So ... but this earlier training is from,           I want to   14:47:26

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 1      say, 2019, but I'll confirm that .          We'll just say     14:47:32

 2      that the accessibility training was kind of in its             14:47:38

 3      infancy.      So take what you get.                            14:47:42

 4           Q       Okay .    So just to streamline our process so    14:47:47

 5      we don't have to go through every single one, to               14:47:49

 6      summarize the ADA web accessibility training that              14:47:54

 7      you have listed here in your CV, not the ones that             14:47:59

 8      we're going to talk about later, the 2023 ones,                14:48:02

 9      these were all completed online?                               14:48:05

10           A       That's correct.                                   14:48:10

11           Q       And as part of the training you watched           14:48:12

12      videos and went through exercises?                             14:48:17

13           A       They were online classroom .       So watched     14:48:24

14      videos, complete exercises, problem solve based upon           14:48:29

15      however the instructor would have created this .               14:48:35

16      Some of them would have been designed to introduce a           14:48:39

17      topic such as introduction to screen readers.            But   14:48:43

18      yeah .     The format was very similar across all of           14:48:48

19      these .                                                        14:48:51

20           Q       And no testing was required for any of            14:48:53

21      these?                                                         14:48:56

22                    MR . COELHO:    Objection .   Misstates          14:48:58

23               testimony .    You can answer .                       14:48:59

24                    THE WITNESS:     Not for these.     I do have    14:49:01

25               the information, if you want it, on the others,       14:49:08

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 1              though.                                                 14:49:11

 2      BY MS. TUTUNDJIAN:                                              14:49:11

 3          Q       We'll get there.      Thank you.                    14:49:12

 4                  And each of these trainings were in the             14:49:14

 5      range of, is it fair to say, two to five hours each?            14:49:18

 6          A       Yes.     Some would have been longer.     But not   14:49:26

 7      substantially longer.        So a day would be the most.        14:49:31

 8          Q       Okay.    And you don't know whether or not          14:49:36

 9      whoever hosted the training was accredited?                     14:49:43

10                   MR. COELHO:     Objection.    Misstates prior      14:49:47

11              testimony.     You can answer.    Sorry.   Vague.       14:49:48

12              You can answer.                                         14:49:53

13                   THE WITNESS:      I don't know which of these      14:49:54

14              would have been accredited.                             14:50:00

15      BY MS. TUTUNDJIAN:                                              14:50:01

16          Q       So the 2023 ones, I will take those if you          14:50:02

17      have them for me.                                               14:50:04

18          A       Great.     And just because I said I would          14:50:06

19      tell you, the first four items on the list going                14:50:13

20      from web accessibility to creating accessible                   14:50:16

21      websites were done in 2019.                                     14:50:20

22          Q       Okay.                                               14:50:24

23          A       HTML down to iOS native mobility                    14:50:25

24      accessibility were completed in 2020.          In 2023 I        14:50:32

25      completed work in the area of customer service for              14:50:43

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 1      people with disabilities, which included a separate              14:50:47

 2      section on serving customers with disability,                    14:50:56

 3      disability etiquette basics and effective                        14:51:00

 4      communications, and there were two parts.              So        14:51:04

 5      that -- so those four or five components were done               14:51:09

 6      there.                                                           14:51:14

 7                     Additionally, an additional one was done          14:51:15

 8      in, as they described it, angular accessibility                  14:51:20

 9      issues framework and testing.           So methodology for       14:51:24

10      completing web accessibility testing.            And that was    14:51:29

11      in 2023 as well.                                                 14:51:40

12             Q       So which is the one that required a test?         14:51:48

13             A       Yes.                                              14:51:51

14             Q       Sorry.    Which one?                              14:51:52

15             A       All five of the ones I mentioned required         14:51:53

16      tests.                                                           14:52:01

17             Q       Okay.    And did you pass those tests?            14:52:02

18             A       Yeah.    Hundred percent on each test.            14:52:04

19             Q       But you have not gotten a certification           14:52:09

20      yet?                                                             14:52:11

21                      MR. COELHO:    Objection.    Vague.    You can   14:52:13

22                 answer.                                               14:52:14

23                      THE WITNESS:     I have not taken --             14:52:16

24                      MR. COELHO:    Also misstates testimony.         14:52:17

25                 You can answer.                                       14:52:19

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1                    THE WITNESS:   I have not taken a              14:52:21

2               certification exam yet.    I'm not ready yet.       14:52:23

3       BY MS. TUTUNDJIAN:                                          14:52:30

4           Q       Okay.   So moving on to expert witness          14:52:31

5       experience.     Assuming my math is right, you have         14:52:42

6       identified 25 cases for which you provided expert           14:52:48

7       witness work; is that right?                                14:52:52

8           A       I believe that's correct.     That would fall   14:53:03

9       within the last -- there's more, but they're older          14:53:05

10      cases so they're not part of this.                          14:53:12

11          Q       Okay.                                           14:53:15

12          A       And some of these might be of an age that       14:53:15

13      they need to start coming off the bottom.         Okay?     14:53:18

14          Q       Is this a complete and accurate list of the     14:53:26

15      relevant experience that you wanted to include in           14:53:32

16      your CV at least?                                           14:53:36

17          A       I have two -- two cases that -- other than      14:53:44

18      this deposition I have two other cases which I              14:53:49

19      testified in since issuing my report.        So with the    14:53:51

20      addition of those two, I think that this would be           14:54:00

21      representative of my recent testimony.                      14:54:05

22          Q       And what are those two cases?                   14:54:11

23          A       I'm sorry?                                      14:54:13

24          Q       What are those two cases?                       14:54:14

25          A       One of them is in re Marjorie Shepherd in       14:54:17

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1       the 11th Circuit Court of the Judicial Circuit Court      14:54:25

2       of Miami, Dade County.    It's a state case.     Would    14:54:30

3       you like the case number?                                 14:54:35

4           Q      Yes, please.                                   14:54:36

5           A      2022-000118-CP-02.                             14:54:37

6           Q      What does this case relate to?                 14:54:54

7           A      I testified regarding the imaging of an        14:54:56

8       iPhone and verification of the data found on it.          14:54:58

9           Q      And the second case?                           14:55:04

10          A      State of Florida versus Carlos Mendez.         14:55:06

11      Also the 11th Judicial Circuit for Miami, Dade.           14:55:11

12      Case No. F23-005216.                                      14:55:15

13          Q      And what is the nature of this case?           14:55:27

14          A      I testified to the status of a cellular        14:55:31

15      phone power base upon records kept on the carrier         14:55:35

16      and data found on the phone itself.      So this had to   14:55:38

17      do with what records would be available if -- I           14:55:42

18      think if they were to have requested them from the        14:55:50

19      carrier.                                                  14:55:53

20          Q      Thank you for that.                            14:55:54

21                 Any other additions that you'd like to         14:55:57

22      make?                                                     14:55:59

23          A      I'm looking at the document and I think        14:56:00

24      that everything else is on it.     I think the two I      14:56:05

25      gave you plus what was attached to my report would        14:56:10

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1       be my testifying -- my recent testifying history.         14:56:15

2           Q    So none of these expert experiences relate       14:56:23

3       to web accessibility; is that right?                      14:56:26

4           A    That is correct.                                 14:56:31

5           Q    And none of these expert experiences relate      14:56:31

6       to ADA compliance; is that right?                         14:56:33

7           A    That is correct.                                 14:56:35

8           Q    Have you ever testified regarding the            14:56:37

9       issues in this case?                                      14:56:39

10          A    No.                                              14:56:46

11          Q    Have your opinions or testimony ever been        14:56:46

12      excluded from a case?                                     14:56:48

13          A    No.                                              14:56:51

14          Q    Have they ever been admitted in a case?          14:57:00

15          A    I'm sorry?                                       14:57:02

16          Q    Have your opinions or testimony ever been        14:57:03

17      admitted in a case?                                       14:57:05

18          A    Yes.                                             14:57:06

19          Q    Which ones?                                      14:57:07

20          A    All of them.                                     14:57:08

21          Q    But none of them related to web                  14:57:16

22      accessibility?                                            14:57:18

23          A    Right.                                           14:57:18

24          Q    And none of them related to ADA compliance?      14:57:19

25          A    I'm sorry?                                       14:57:22

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1           Q      And none of them related to ADA compliance?      14:57:23

2           A      The ones listed in my testimony, no.             14:57:25

3           Q      Are there any that are not listed in your        14:57:28

4       testimony that do relate to ADA compliance?                 14:57:31

5           A      No.    I had never testified on ADA issues       14:57:39

6       before.    This is the first time that anyone has           14:57:42

7       taken my deposition for anything in an ADA-related          14:57:45

8       case.                                                       14:57:54

9           Q      And the same thing for web accessibility?        14:57:54

10          A      Yes.    To me, I grouped it all together.        14:57:55

11          Q      Moving on to Teaching and Lectures by            14:58:04

12      Topic.    Is this a complete and accurate list?             14:58:06

13          A      Yes.                                             14:58:13

14          Q      Any others?                                      14:58:14

15          A      I'm sorry?                                       14:58:18

16          Q      Any others that you'd like to supplement?        14:58:19

17          A      No.    I think that's pretty complete.           14:58:27

18          Q      And none of these teaching and lectures          14:58:33

19      relate to web accessibility; is that right?                 14:58:37

20          A      That's correct.                                  14:58:40

21          Q      And none of these teaching and lectures          14:58:42

22      relate to ADA compliance; is that right?                    14:58:43

23          A      That's correct.                                  14:58:46

24          Q      And finally, publications.      Is this a        14:58:50

25      complete and accurate list?                                 14:58:56

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1           A       Yes.                                              14:58:58

2           Q       And none of these publications relate to          14:59:00

3       web accessibility; is that right?                             14:59:03

4           A       That's correct.                                   14:59:05

5           Q       And none of these publications relate to          14:59:05

6       ADA compliance; is that right?                                14:59:08

7           A       That's correct.                                   14:59:10

8           Q       Okay.     And perfect timing.    So we can go     14:59:11

9       off the record if that's good with you guys.                  14:59:16

10                   MR. COELHO:     Let's go off the record.         14:59:20

11                   THE VIDEOGRAPHER:      We are off the record.    14:59:23

12              The time is 2:59 p.m.                                 14:59:24

13                  (Off the record.)                                 14:59:28

14                   THE VIDEOGRAPHER:      We are back on the        15:33:18

15              record.     The time is 3:33 p.m.                     15:33:18

16      BY MS. TUTUNDJIAN:                                            15:33:26

17          Q       Welcome back.     So continuing on with your      15:33:27

18      expert report, starting on page 4 with the manual             15:33:29

19      review of Fashion Nova's website, you indicate that           15:33:34

20      Forensic Data Services performed a manual review of           15:33:41

21      Fashion Nova website; is that right?                          15:33:44

22          A       One second.                                       15:33:45

23                   MR. COELHO:     What page are you on?            15:33:53

24      BY MS. TUTUNDJIAN:                                            15:33:54

25          Q       Right now, 4.     I'm going to flip back to 3     15:33:55

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 1              website and experiencing barriers is exactly          16:16:18

 2              that.                                                 16:16:23

 3                      The qualifier of significance is really       16:16:25

 4              something that you would have to ask the person       16:16:29

 5              who was experiencing it .     Is this something       16:16:31

 6              they can deal with?                                   16:16:35

 7                      I can't speak to that part of it .    I can   16:16:38

 8              only speak to the part that the screen reader         16:16:40

 9              identified problems with the website.        Those    16:16:42

10              are barriers and those are barriers that would        16:16:45

11              potentially create problems for the disabled          16:16:48

12              users of the website .                                16:16:52

13      BY MS . TUTUNDJIAN:                                           16:16:53

14          Q       Okay .    And do the barriers that you've         16:16:53

15      identified in your report as part of your manual              16:16:56

16      review rise to the level of concluding that Fashion           16:16:59

17      Nova's website is not ADA-complaint?                          16:17:05

18          A       I would say yes .                                 16:17:08

19          Q       Based on what?                                    16:17:11

20          A       Based on the fact that the barriers that          16:17:13

21      exist did not meet the standards as presented within          16:17:17

22      WCAG and WCAG is the standard that's being applied            16:17:25

23      for website-compliant.        The barriers exist and          16:17:32

24      they're impacting the people visiting the site.               16:17:37

25          Q       Well, to clarify, you have chosen to use          16:17:39

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 1      WCAG as the guideline for purposes of auditing                16:17:46

 2      Fashion Nova's website, right?                                16:17:51

 3                    MR. COELHO:    Objection.    Vague.   You can   16:17:58

 4               answer if you understand the question .              16:17:59

 5                    THE WITNESS:     I am using WCAG as the         16:18:03

 6               standard to audit Fashion Nova's website, yes .      16:18:06

 7      BY MS . TUTUNDJIAN:                                           16:18:08

 8           Q       And WCAG is not the only standard used to        16:18:09

 9      determine whether or not a website is accessible?             16:18:11

10           A       It is the standard that I used in this           16:18:22

11      case .                                                        16:18:23

12           Q       My question is different .     WCAG is not the   16:18:24

13      only standard used to determine whether or not a              16:18:26

14      website is accessible?                                        16:18:29

15                    MR . COELHO:   Objection .   Asked and          16:18:31

16               answered .   You can answer .                        16:18:31

17                    THE WITNESS:    There are other standards,      16:18:38

18               but they're not usually applied to commercial        16:18:38

19               websites .   Section 508 is applied to the           16:18:41

20               government, WCAG is what's applied to                16:18:44

21               commercial websites .    So this standard is the     16:18:48

22               best standard .                                      16:18:51

23      BY MS . TUTUNDJIAN:                                           16:18:52

24           Q       There are other standards that are used to       16:18:52

25      determine whether or not a website is ADA-complaint           16:18:55

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 1      but you did not use the other standards?                      16:18:59

 2                   MR. COELHO:     Objection.    Asked and          16:19:02

 3              answered.     You can answer again.                   16:19:02

 4                   THE WITNESS:      I did not use any other        16:19:07

 5              standard except for WCAG .                            16:19:11

 6      BY MS . TUTUNDJIAN:                                           16:19:12

 7          Q       Okay .                                            16:19:13

 8          A       Because that's the best standard to be            16:19:17

 9      applied here.                                                 16:19:18

10          Q       Can you point me to any publications or           16:19:19

11      documents that say WCAG is the best standard to               16:19:21

12      apply?                                                        16:19:24

13          A       No .                                              16:19:25

14          Q       So that's your personal opinion?                  16:19:29

15          A       Yes .                                             16:19:30

16          Q       And as part of your manual review, you used       16:19:34

17      screen readers, right?        That was your methodology to    16:19:39

18      determine whether or not there were any web                   16:19:42

19      accessibility issues?                                         16:19:44

20                   MR . COELHO:    Objection .   Misstates prior    16:19:47

21              testimony .    You can answer .                       16:19:48

22                   THE WITNESS:     My manual review included       16:19:53

23              the use of screen readers, but it was not the         16:19:55

24              only thing in which I did as part of the manual       16:19:58

25              review .                                              16:20:00

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1                    MR. COELHO:    Anna, whenever it's possible        17:26:43

2               for you to take a break.                                17:26:45

3                    MS. TUTUNDJIAN:       Yeah.   As soon as I wrap    17:26:46

4               this up.                                                17:26:47

5       BY MS. TUTUNDJIAN:                                              17:26:48

6           Q       So just so I understand, in your review             17:26:49

7       of -- I believe you said around 2,000 websites that             17:26:54

8       you've audited, have you ever come across an                    17:26:57

9       instance where any particular website did not have              17:27:01

10      any accessibility issues?                                       17:27:04

11                   MR. COELHO:    Objection.      Vague.              17:27:07

12              Incomplete hypothetical.       You can answer.          17:27:09

13                   THE WITNESS:    Yes.                               17:27:14

14      BY MS. TUTUNDJIAN:                                              17:27:15

15          Q       Okay.    Which ones?                                17:27:16

16          A       I don't know.    I've never been asked that         17:27:22

17      question before so I don't have a list of the                   17:27:25

18      websites that passed in my head.                                17:27:27

19          Q       Sorry.    That passed?                              17:27:32

20          A       Well, that they -- they didn't have issues.         17:27:34

21      So if I'm looking at a pass/fail, my choice of                  17:27:40

22      words, I have run across websites that the physical             17:27:44

23      examination and the automated testing showed that               17:27:50

24      there were no issues with the website.           I can't tell   17:27:54

25      you the names of the websites.                                  17:27:57

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1           Q       How many websites?                                 17:28:00

2           A       Couple dozen.                                      17:28:02

3           Q       So about 24 websites where your audit              17:28:04

4       revealed there were zero accessibility issues?                 17:28:08

5                    MR. COELHO:     Objection.    Misstates prior     17:28:13

6               testimony.     You can answer.                         17:28:15

7                    THE WITNESS:     That's correct.                  17:28:17

8       BY MS. TUTUNDJIAN:                                             17:28:17

9           Q       And how many different tools did you use to        17:28:18

10      run your testing on these websites?                            17:28:22

11                   MR. COELHO:     Objection.    Vague as to which   17:28:25

12              website.     You can answer.                           17:28:27

13                   MS. TUTUNDJIAN:      The 24 or so websites        17:28:29

14              that had zero accessibility issues.                    17:28:33

15                   THE WITNESS:     So the websites that were        17:28:40

16              found not to have the accessibility issues             17:28:41

17              would have followed the same process and               17:28:44

18              methodology that I employed here.                      17:28:47

19      BY MS. TUTUNDJIAN:                                             17:28:51

20          Q       So a manual review and then followed by an         17:28:51

21      automated review using the Deque and WAVE tools?               17:28:53

22          A       Yes.                                               17:28:58

23          Q       And do you have a way of determining what          17:29:04

24      those 24 websites are?                                         17:29:06

25          A       In a lot of cases I have non-disclosures in        17:29:09

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1       place so I don't keep a lot of records once a case            17:29:12

2       is over.    In fact, I'm kind of mandated not to.       So,   17:29:16

3       no.                                                           17:29:28

4             Q    Okay.                                              17:29:28

5             A    I am in need of a break.                           17:29:49

6             Q    Sorry.    My last two questions here.              17:29:53

7                  You also maintain a website for FDS, right?        17:29:56

8             A    I do.                                              17:30:05

9             Q    And the URL is FDS.Global?                         17:30:06

10            A    It is.                                             17:30:10

11            Q    And on your website you provide an                 17:30:10

12      accessibility statement; is that right?                       17:30:12

13            A    I do.                                              17:30:14

14            Q    And the accessibility statement states, At         17:30:14

15      FDS Global we are committed to ensuring that our              17:30:17

16      website is accessible to the widest possible                  17:30:21

17      audience including individuals with disabilities.             17:30:23

18      We firmly believe in providing an inclusive online            17:30:26

19      environment and strive to adhere to the Web Content           17:30:29

20      Accessible Guidelines, WCAG 2.1, which lay out the            17:30:31

21      standards for accessible web design.        Our objective     17:30:37

22      is to meet or exceed the requirements of these                17:30:41

23      guidelines to enable seamless website accessibility           17:30:43

24      for all users.                                                17:30:47

25                 Does that sound right?                             17:30:48

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 1      the data for Fashion Nova begins in 2013, that's                 18:01:02

 2      fine .     Yeah.                                                 18:01:06

 3           Q           Do you have any reliability concerns with       18:01:13

 4      the Wayback Machine?                                             18:01:18

 5           A           Not for the      not for the days in which I    18:01:21

 6      examined and one day in 2019 and the other five days             18:01:27

 7      in 2020 .                                                        18:01:33

 8           Q           Is the Wayback Machine widely accepted          18:01:37

 9      within the ADA community as a reliable method for                18:01:39

10      evaluating web accessibility?                                    18:01:43

11                        MR . COELHO:   Objection .   Misstates prior   18:01:47

12               testimony .                                             18:01:48

13                        THE WITNESS:    I have no idea, but I do       18:01:52

14               know that the Wayback Machine is an accepted            18:01:56

15               way of examining websites from prior periods            18:01:58

16               across the industries I've worked in, not               18:02:06

17               including the ADA, and I have no idea about the         18:02:09

18               ADA .                                                   18:02:12

19      BY MS . TUTUNDJIAN:                                              18:02:13

20           Q           So you don't know whether or not relying on     18:02:14

21      the Wayback Machine is considered a reliable method              18:02:18

22      in the ADA web accessibility industry?                           18:02:24

23                        MR . COELHO:   Objection .   Misstates prior   18:02:31

24               testimony.      Confusing.    You can answer.           18:02:33

25                        THE WITNESS:    I have -- I have, first of     18:02:36

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 1              all, never considered the ADA accessibility an            18:02:42

 2              industry.     The website itself exists, it's been        18:02:46

 3              captured.     And looking at it through the               18:02:52

 4              Wayback Machine has never been in question .          I   18:02:55

 5              mean, the bottom line is we're looking at the             18:03:02

 6              source code, the underlying code which is not             18:03:05

 7              changing .                                                18:03:07

 8                   So I don't know how other people within              18:03:12

 9              the ADA space would have looked at .       So -- if       18:03:14

10              they would have used it or not .                          18:03:18

11      BY MS . TUTUNDJIAN:                                               18:03:19

12          Q       So you do not know whether or not relying             18:03:20

13      on the Wayback Machine is considered to be a                      18:03:24

14      reliable method for evaluating web accessibility?                 18:03:30

15                   MR . COELHO:    Objection .    Misstates prior       18:03:35

16              testimony .    You can answer .                           18:03:37

17                   THE WITNESS:      I -- when evaluating               18:03:40

18              websites, absolutely the Wayback Machine is a             18:03:44

19              solid way of looking at it .       Within the ADA         18:03:47

20              space,   I do not know .                                  18:03:51

21      BY MS . TUTUNDJIAN:                                               18:03:52

22          Q       Okay .    And what is the basis for your              18:03:52

23      conclusion that the Wayback Machine is absolutely a               18:04:00

24      reliable method for evaluating websites outside of                18:04:02

25      the ADA context?                                                  18:04:05

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 1                   MR . COELHO:    Objection .     Vague as to          18:04:08

 2              "Absolutely."    You can answer.                          18:04:10

 3                   THE WITNESS:      I've used the Wayback              18:04:18

 4              Machine for a variety of analysis involving               18:04:18

 5              websites .   And to better understand what's              18:04:26

 6              going on websites in a variety of cases .          It     18:04:30

 7              has been consistently reliable and accurate .             18:04:37

 8              So my experience .                                        18:04:40

 9      BY MS. TUTUNDJIAN:                                                18:04:42

10          Q       So just your experience?                              18:04:43

11          A       Yes .                                                 18:04:44

12          Q       Has the Wayback Machine been peer-reviewed?           18:04:46

13          A       I have no idea .                                      18:04:50

14          Q       And has the Wayback Machine been accepted             18:04:52

15      by courts as a reliable method?                                   18:04:57

16          A       I believe that I have presented my findings           18:05:05

17      a couple times in the court.         I don't recall the           18:05:09

18      cases .    But the fact that I've used it in other                18:05:14

19      matters, the results would have been presented and                18:05:17

20      referenced back to the Wayback .           So it was accepted .   18:05:21

21          Q       Outside of the ADA context?                           18:05:28

22          A       Yes .                                                 18:05:30

23          Q       You state that you applied automated                  18:05:38

24      testing of Deque on Fashion Nova's website for six                18:06:10

25      specific dates .      And you identify those dates on             18:06:15

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 1      BY MS . TUTUNDJIAN:                                                    18:10:28

 2              Q            Mr. Moody, you can answer.                        18:10:29

 3              A            So no, I haven't.    The six tests that were      18:10:36

 4      run here, this is what I have .               This is what I gave      18:10:38

 5      you .                                                                  18:10:41

 6              Q            And so for purposes of your methodology,          18:10:50

 7      you chose six discrete dates from the 42                               18:10:51

 8      declarations that were provided to you, right?                         18:10:54

 9              A            That's correct.                                   18:10:58

10              Q            So you didn't capture all of the visit            18:11:00

11      dates?                                                                 18:11:02

12              A            No .                                              18:11:06

13              Q            And you noted in your report that --              18:11:09

14      page        8   --    that Fashion Nova's website is fluid by          18:11:26

15      the nature of its industry always subject to                           18:11:34

16      updating photos and customer discounts, and that's                     18:11:37

17      paragraph 2.                                                           18:11:42

18              A            Yes .                                             18:11:46

19              Q            So having reviewed Fashion Nova's website,        18:11:50

20      could you tell that it's a dynamic fluid website and                   18:11:52

21      it changes and updates its content on a daily basis;                   18:11:56

22      is that right?                                                         18:11:59

23              A            It's a fluid website and it updates its           18:12:03

24      content.              I don't know with what frequency.      I would   18:12:05

25      say daily might be an overstatement, but it's fluid .                  18:12:11

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 1          Q       Do you have any basis for stating that it's       18:12:20

 2      an overstatement?         You don't know one way or the       18:12:23

 3      other, right, how frequently Fashion Nova updates             18:12:26

 4      its website?                                                  18:12:30

 5                   MR . COELHO:     Objection .   Compound .        18:12:31

 6              Argumentative .     You can answer .                  18:12:31

 7                   THE WITNESS:      I've not done an analysis of   18:12:36

 8              the website to determine if changes are made on       18:12:38

 9              a daily basis.      So my statement was basically     18:12:41

10              commentary to your question in the way in which       18:12:45

11              you proposed it .     So no, I did not have any       18:12:48

12              data that would suggest that the site is or is        18:12:51

13              not changed daily .                                   18:13:01

14      BY MS . TUTUNDJIAN:                                           18:13:03

15          Q       Okay .   And if a website did change daily,       18:13:04

16      then if a declarant, for example, in Item No . 1              18:13:10

17      visits the website on May 31, 2019, but you rely on           18:13:12

18      a Wayback capture from May 29, 2019, then you are             18:13:18

19      looking at a different version of Fashion Nova's              18:13:24

20      website?                                                      18:13:27

21                   MR . COELHO:     Objection .   Argumentative .   18:13:31

22              You can answer .                                      18:13:32

23                   THE WITNESS:      Yes .                          18:13:33

24      BY MS . TUTUNDJIAN:                                           18:13:35

25          Q       What is the meaning of the number of errors       18:13:41

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1       researching, and purchasing products."                      18:56:03

2           A       Where are we now?                               18:56:06

3           Q       Did I read that correctly?                      18:56:50

4           A       Okay.   I found you.                            18:56:51

5           Q       And then you identify some specific             18:56:52

6       examples of issues that you gathered from the               18:56:54

7       declarations, right?                                        18:56:59

8           A       Yes, ma'am.                                     18:57:01

9           Q       Did you personally interview any of the 42      18:57:03

10      declarants?                                                 18:57:05

11          A       No.                                             18:57:08

12          Q       Did you have any discussions with any of        18:57:09

13      the 42 declarants?                                          18:57:11

14          A       No.                                             18:57:14

15          Q       Did you ask to?                                 18:57:15

16          A       No.                                             18:57:18

17          Q       When reading the declarations, did it           18:57:21

18      strike you that many were similar in content?               18:57:24

19          A       I don't understand your question.               18:57:33

20          Q       When reading the 42 declarations, did you       18:57:34

21      notice similarities amongst them?                           18:57:36

22                   MR. COELHO:    Objection.   Vague.   You can   18:57:40

23              answer if you understand.                           18:57:42

24                   THE WITNESS:     They were disabled people     18:57:49

25              that visited your client's website and ran into     18:57:52

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1               problems.        Is there something more specific        18:57:56

2               other than that?                                         18:58:01

3       BY MS. TUTUNDJIAN:                                               18:58:02

4           Q          No.     When reading the declarations, was it     18:58:03

5       your understanding that the declarant had issues                 18:58:05

6       accessing Fashion Nova's website?                                18:58:09

7           A          Say that again, please.                           18:58:11

8           Q          Yeah.     When reading the declarations, was      18:58:13

9       it your understanding that the declarants had issues             18:58:15

10      accessing Fashion Nova's website?                                18:58:20

11                      MR. COELHO:     Objection.    Vague.   You can   18:58:23

12              answer.                                                  18:58:24

13                      THE WITNESS:     That is my understanding,       18:58:25

14              yes.                                                     18:58:26

15                      MS. TUTUNDJIAN:      I am going to introduce     18:58:35

16              Exhibit 8 followed by Exhibit 9 and both of              18:58:37

17              these exhibits are two declarations.                     18:58:40

18                     (Exhibit 8, Declaration of Amicizia Medrano       18:59:05

19                     for Motion for Class Certification (No            18:59:06

20                     Bates), was marked.)                              18:59:06

21                     (Exhibit 9, Declaration of Latanya Shelton        18:59:07

22                     for Motion for Class Certification (No            18:59:07

23                     Bates), was marked.)                              18:59:07

24      BY MS. TUTUNDJIAN:                                               18:59:08

25          Q          So Mr. Moody, when you have access to             18:59:08

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1       Exhibit 8, please let me know.                                 18:59:10

2           A       Okay.                                              18:59:50

3           Q       Do you recognize this document?                    18:59:51

4           A       It appears to be one of the declarations of        19:00:06

5       the 42.                                                        19:00:10

6           Q       Okay.                                              19:00:12

7           A       Other than that, that's all I've got.              19:00:14

8           Q       Okay.   I will direct you to the final             19:00:22

9       paragraph which is paragraph 7 which states, "For              19:00:24

10      these reasons, it is impossible for me to use the              19:00:30

11      adidas website which I find regrettable."                      19:00:39

12          A       Okay.                                              19:00:42

13          Q       Were you confused by this statement?               19:00:42

14          A       I'm sure I was.     One second.     Yes, it does   19:00:52

15      appear to be out of place.                                     19:01:16

16          Q       Did you ask for clarification?                     19:01:18

17                   MR. COELHO:    Objection.   Vague as to who.      19:01:20

18              You can answer.                                        19:01:25

19                   THE WITNESS:     I don't recall.     It might     19:01:32

20              have been one of the other conversations, but I        19:01:33

21              don't have a direct recall on this statement or        19:01:39

22              this declarant.                                        19:01:43

23      BY MS. TUTUNDJIAN:                                             19:01:45

24          Q       Okay.   Moving on to Exhibit 9 which is            19:01:45

25      another plaintiff declaration.        Please let me know       19:01:52

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1       when you've had a chance to review and whether you               19:01:57

2       recognize the document.                                          19:01:59

3              A         It's loaded.    I'm just looking at it right    19:02:25

4       now.        Okay?                                                19:02:27

5              Q         No problem.                                     19:02:28

6              A         Okay.   I reviewed it.                          19:02:50

7              Q         I'll direct you to paragraph 8 where it         19:02:52

8       says, "For these reasons, it is impossible for me to             19:02:57

9       use the adidas website which I find regrettable."                19:03:00

10                       Again, same conclusion as we just visited       19:03:05

11      with the other declaration, right?                               19:03:07

12             A         Say that again, please.                         19:03:13

13             Q         Yeah.   Same conclusion as we just visited      19:03:14

14      with the prior exhibit?                                          19:03:16

15             A         They both appear to have the same issue.        19:03:21

16             Q         Okay.   Did you ask for clarification as to     19:03:23

17      this statement?                                                  19:03:26

18                        MR. COELHO:    Objection.   Vague as to who.   19:03:29

19                 You can answer.                                       19:03:32

20                        THE WITNESS:    So it most likely was one of   19:03:40

21                 the conversations I had, but I don't have any         19:03:42

22                 direct recollection one way or the other about        19:03:44

23                 it.                                                   19:03:47

24      BY MS. TUTUNDJIAN:                                               19:03:47

25             Q         Do you know anything about the devices that     19:03:48

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1       the declarants were using to access Fashion Nova's           19:03:51

2       website?                                                     19:03:54

3                    MR. COELHO:     Objection.   The document       19:03:55

4               speaks for itself.     You can answer.               19:03:55

5       BY MS. TUTUNDJIAN:                                           19:04:00

6           Q       Just any of the general 42 declarants?           19:04:01

7           A       I don't.   I don't know any of the specifics     19:04:05

8       about those devices.                                         19:04:10

9           Q       And do you know any specifics as to the          19:04:13

10      declarant's specific visual impairments?                     19:04:17

11                   MR. COELHO:     Objection.   Vague.   You can   19:04:23

12              answer if you understand.                            19:04:25

13                   THE WITNESS:     I don't understand the         19:04:28

14              question.   Are you asking me if I know their        19:04:29

15              medical diagnosis?                                   19:04:32

16      BY MS. TUTUNDJIAN:                                           19:04:34

17          Q       Yeah.   Like, basically what their visual        19:04:35

18      impairment is.                                               19:04:40

19          A       If it wasn't included in the website, I          19:04:42

20      wouldn't know.      So no, I do not.                         19:04:44

21          Q       So how do you know that the issues that the      19:04:53

22      declarants encountered on Fashion Nova's website was         19:04:55

23      attributable to Fashion Nova's website as opposed to         19:04:59

24      any other number of variables?                               19:05:04

25                   MR. COELHO:     Objection.   Vague.             19:05:07

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 1              code by physical review of the website .                19:08:42

 2                   So it's the totality of everything that --         19:08:46

 3              everything that I did to come to the                    19:08:52

 4              conclusion, not that a declarant made a                 19:08:54

 5              statement of X.      That's just understanding what     19:09:00

 6              problems that person had .                              19:09:03

 7                   And then all the testing that followed             19:09:05

 8              would either say yes or no .        I don't have a      19:09:07

 9              problem saying no or yes.       It's about what the     19:09:10

10              testing and the results provide.                        19:09:14

11      BY MS . TUTUNDJIAN:                                             19:09:16

12          Q       All right .     But your testing, to be clear,      19:09:18

13      was done in June of 2023 and declarants accessed                19:09:23

14      Fashion Nova's website in 2019 and 2020 .                       19:09:33

15                   MR . COELHO:     Objection .   Vague .   You can   19:09:37

16              answer .                                                19:09:39

17                   THE WITNESS:      That's correct.                  19:09:43

18      BY MS . TUTUNDJIAN:                                             19:09:44

19          Q       Moving on in your report you also state             19:09:47

20      that you reviewed Mr . Arumugam's report; is that               19:09:49

21      right?                                                          19:09:57

22          A       I read both expert reports, yes.                    19:10:06

23          Q       Did you do anything other than read their           19:10:10

24      reports?                                                        19:10:12

25          A       No .                                                19:10:15


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 1          Q     So you didn't perform any of the tests?          19:10:16

 2          A     No.                                              19:10:20

 3          Q     You didn't talk to Mr. Arumugam?                 19:10:21

 4          A     No.                                              19:10:27

 5          Q     You didn't talk to Mr. Krosnick?                 19:10:27

 6          A     No.                                              19:10:31

 7          Q     Okay.    So you have no way of assessing         19:10:33

 8      their methodology?                                         19:10:36

 9          A     No.     I read a report that has background.     19:10:42

10          Q     Okay.    Moving on to the accessibility          19:10:46

11      policy section of your report which is page 7 .            19:10:51

12          A     I'm there .                                      19:11:03

13          Q     You state that Fashion Nova's website does       19:11:04

14      not have a website accessibility policy; is that           19:11:06

15      right?                                                     19:11:11

16          A     At the time I reviewed it it did not .           19:11:11

17          Q     Okay.    And you state that a website            19:11:14

18      accessibility policy serves as notice to the user of       19:11:20

19      the website's owner's commitment to providing access       19:11:24

20      to its website and the products and services the           19:11:26

21      owner sells .     Is that right, in the first --           19:11:31

22          A     Where are you reading from just so I can         19:11:39

23      follow?                                                    19:11:41

24          Q     The first sentence.                              19:11:42

25          A     First sentence .    Okay .   That is what I      19:11:45

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 1      BY MS . TUTUNDJIAN:                                           19 : 30:58

 2          Q       Okay.     Looking at your conclusions, page 8,    19:31:00

 3      third paragraph from the bottom you state,          "The      19:31:19

 4      failure of the defendant's website and its                    19:31:23

 5      compatibility issues with screen readers does more            19:31:25

 6      than limit the access to online research and                  19:31:29

 7      purchases .        It can and does impact the disabled user   19:31:31

 8      from accessing brick-and-mortar locations, phone              19:31:35

 9      numbers, and store hours thus preventing any                  19:31:40

10      commerce with the store directly."                            19:31:43

11                  Did I read that correctly?                        19:31:47

12          A       You did .                                         19:31:48

13          Q       How did you reach this conclusion?                19:31:49

14                    MR . COELHO:    Objection .   The document      19:31:53

15              speaks for itself .     Are you asking him to         19:31:54

16              describe the whole methodology again?                 19:31:56

17                    MS. TUTUNDJIAN:     No, not the whole           19:31:58

18              methodology .     I want to focus on this             19:32:00

19              brick-and-mortar location because this is the         19:32:02

20              first time I've seen a reference to it in your        19:32:04

21              report .                                              19:32:08

22      BY MS . TUTUNDJIAN:                                           19:32:10

23          Q       So focusing specifically on this, I just          19:32:11

24      want to know, how did you reach this conclusion?              19:32:14

25      Because I didn't see it in your analysis or                   19:32:19

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 1      methodology .                                                 19:32:22

 2          A       Sure.     Issues with accessing                   19:32:25

 3      brick-and-mortar locations, phone numbers, store              19:32:28

 4      hours and such I believe appeared within the                  19:32:31

 5      declarations provided .       The fact that the types of      19:32:38

 6      information that -- the types of code that would              19:32:45

 7      have held this information is consistent with the             19:32:52

 8      issues that was identified as having problems both            19:32:55

 9      from the automated testing and from mine.                     19:32:59

10                  So my conclusion is based on there were           19:33:02

11      people complaining about not being able to do this            19:33:09

12      and the website has issues, so that's how I drew my           19:33:11

13      conclusion .                                                  19:33:17

14          Q       So you didn't do anything specifically to         19:33:18

15      assess whether or not disabled persons would be               19:33:21

16      impacted from accessing brick-and-mortar locations?           19:33:29

17                   MR. COELHO:     Objection.    Misstates prior    19:33:33

18              testimony .    You can answer .                       19:33:35

19                   THE WITNESS:     The disabled users              19:33:41

20              themselves were able to identify that they had        19:33:44

21              issues and the code that was examined and the         19:33:46

22              website examined was consistent by showing that       19:33:53

23              there were errors with this type of data .       So   19:33:57

24              that's my conclusion.                                 19:34:00

25                   So did I make phone calls and things like        19:34:02

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 1               that?     No, I did not .     But the testing of the        19:34:05

 2               code, the statements made by the declarants.                19:34:09

 3      BY MS. TUTUNDJIAN:                                                   19:34:17

 4           Q       But you didn't do any specific analysis                 19:34:18

 5      whether as a manual or automated review to test                      19:34:24

 6      whether or not this is true?                                         19:34:27

 7                       MR . COELHO:   Objection .    Misstates prior       19:34:28

 8               testimony .    Asked and answered .      You can            19:34:29

 9               answer.                                                     19:34:32

10                       THE WITNESS:    No.    I did not.                   19:34:33

11      BY MS . TUTUNDJIAN:                                                  19:34:44

12           Q       So looking back on Exhibit 10 on the bottom             19:34:44

13      where we looked at "Contact us," there's also                        19:34:47

14      another link next to it .            It says "Stores . "    And so   19:34:50

15      I'm going to introduce Exhibit 12 .                                  19:34:56

16                   (Exhibit 12, Fashion Nova Locations page                19:35:28

17                   (No Bates), was marked.)                                19:35:28

18      BY MS . TUTUNDJIAN:                                                  19:35:29

19           Q       Exhibit 12 is me just clicking on "Stores"              19:35:29

20      and that's the page that pulls up and it is a list                   19:35:32

21      of physical locations, brick-and-mortar at Fashion                   19:35:37

22      Nova .     But let me know when you've had an                        19:35:41

23      opportunity to see the document .                                    19:35:43

24           A       Okay.     I have it loaded.                             19:35:55

25           Q       So here we have a listing of Fashion Nova's             19:35:58

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 1      brick-and-mortar stores that are accessible on its              19:36:04

 2      website.                                                        19:36:09

 3            A       Say that again, please.                           19:36:13

 4            Q       So here we have a listing of Fashion Nova's       19:36:14

 5      five brick-and-mortar stores that are listed on its             19:36:19

 6      website.       Do you see that?                                 19:36:23

 7            A       I do.                                             19:36:25

 8            Q       So given that this information is on              19:36:36

 9      Fashion Nova's website, what is the basis for your              19:36:39

10      conclusion that visually impaired individuals can't             19:36:41

11      access information about Fashion Nova's                         19:36:44

12      brick-and-mortar locations?                                     19:36:46

13            A       You had declarant stating that their screen       19:36:51

14      readers weren't interpreting this data.                         19:36:54

15            Q       And that is the sole basis?                       19:36:58

16            A       Yes.                                              19:37:06

17            Q       Moving on.     So the US Department of Justice    19:37:11

18      Civil Rights Division has issued a guidance on web              19:37:19

19      accessibility and the ADA.                                      19:37:23

20                    Are you familiar with this guidance?              19:37:25

21                     MR. COELHO:    Objection.      You can answer.   19:37:32

22                     THE WITNESS:    No.                              19:37:38

23                     MS. TUTUNDJIAN:       Okay.   Let's look at my   19:37:40

24                next exhibit.    This is Exhibit 13.                  19:37:47

25      Ill                                                             19:38:16

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 1                   (Exhibit 13, U. S . Department of Justice             19:38:16

 2                  Guidance on Web Accessibility and the ADA              19:38:16

 3                   (No Bates), was marked.)                              19:38:16

 4      BY MS . TUTUNDJIAN:                                                19:38:22

 5          Q       I will let you review this .           This is the     19:38:22

 6      guidance that I just referenced .            And then I will       19:38:25

 7      specifically focus on page 4 .                                     19:38:31

 8                   MR . COELHO:    How much time do we have on           19:38:53

 9              the record?                                                19:38:54

10                   THE VIDEOGRAPHER:         Five hours, 46 minutes .    19:39:08

11                   MR . COELHO:    We're going to need another           19:39:18

12              court reporter .                                           19:39:20

13                   MS . TUTUNDJIAN:     Oh, no .     I'm done .          19:39:20

14                   MR . COELHO:    Oh, you are?                          19:39:22

15                   MS . TUTUNDJIAN:     Yeah .     Assuming you have     19:39:25

16              minimal .                                                  19:39:27

17                   MR. COELHO:     Yeah.     Minimal .                   19:39:28

18                   THE WITNESS:     Okay .     I'm on page 4 .           19:39:32

19      BY MS . TUTUNDJIAN:                                                19:39:35

20          Q       Okay .    So on page 4 section it says, How to         19:39:35

21      make web content accessible to people with                         19:39:44

22      disabilities . "      And it states,     "Businesses and state     19:39:46

23      and local governments have flexibility in how they                 19:39:50

24      comply with the ADA's general requirements of                      19:39:53

25      nondiscrimination and effective communication .              But   19:39:55

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 1      they must comply with the ADA's requirements . "        Goes   19:39:57

 2      on to say,   "The Department of Justice does not have          19:40:01

 3      a regulation setting up detailed standards."                   19:40:03

 4               Did I read that correctly?                            19:40:08

 5          A    Can you read it again, please?                        19:40:16

 6          Q    Sure .     "Businesses and state and local            19:40:18

 7      government have flexibility in how they comply with            19:40:19

 8      the ADA's general requirements of nondiscrimination            19:40:22

 9      and effective communication.       But they must comply        19:40:26

10      with the ADA's requirements.       The Department of           19:40:28

11      Justice does not have a regulations setting out                19:40:30

12      detailed standards . "                                         19:40:34

13          A    You did read that correctly .                         19:40:53

14          Q    So according to the US Department of                  19:40:54

15      Justice, businesses like Fashion Nova have                     19:40:56

16      flexibility in how they comply with the ADA's                  19:41:00

17      general requirements; is that right?                           19:41:04

18          A    According to this document from the                   19:41:13

19      Department of Justice, that is what you read .         As      19:41:15

20      far as its        you know, I'm not qualified to make a        19:41:24

21      legal opinion here .     I'm not an attorney, so ...           19:41:36

22      What you read is what's on the paper .                         19:41:38

23          Q    And so the US Department of Justice does              19:41:44

24      not state that in order for a website to comply with           19:41:48

25      the ADA's requirements, it must adhere to the WCAG             19:41:53

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 1      Guidelines .                                                    19:42:06

 2          A       I'm sorry.       Say that again .                   19:42:08

 3          Q       I'll repeat it.       And so the US Department      19:42:09

 4      of Justice does not state that in order for a                   19:42:14

 5      website to comply with the ADA's requirements it                19:42:16

 6      must adhere to the WCAG Guidelines .                            19:42:19

 7          A       I don't see where you're reading from .             19:42:27

 8          Q       I'm not reading from anywhere .        I'm saying   19:42:30

 9      is there anything            is there any indication in the     19:42:32

10      guidelines from the US Department of Justice that               19:42:35

11      says that in order for a website to comply with the             19:42:38

12      ADA's requirements it must adhere to the WCAG                   19:42:43

13      Guidelines?                                                     19:42:47

14          A       Other than existing technical standards             19:42:49

15      provide helpful guidance concerning how to ensure               19:42:51

16      accessibility of website features,           these include      19:42:55

17      WCAG, I don't see anything else referencing WCAG on             19:42:59

18      this page .                                                     19:43:06

19          Q       So you would agree that Fashion Nova's              19:43:14

20      website does not need to adhere to WCAG in order to             19:43:19

21      comply with the ADA?                                            19:43:24

22                    MR . COELHO:     Objection .   Misstates prior    19:43:26

23              testimony .                                             19:43:27

24                    THE WITNESS:      Okay.   So respectfully, I      19:43:37

25              don't agree with you because the ADA                    19:43:40

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 1           requirements are vague at best and there needs       19:43:43

 2           to be a standard in a series of guidelines .         19:43:49

 3           And the World Wide Consortium set out the WCAG       19:43:51

 4           Guidelines to provide a structure so that            19:43:55

 5           websites can be in compliance .    Okay?             19:44:00

 6                 The only real test for whether or not a        19:44:04

 7           website is in compliance is whether or not           19:44:08

 8           people with disabilities have problems with          19:44:12

 9           that website.   If they have problems, it's          19:44:14

10           something to look into.                              19:44:20

11                 The WCAG standard is a way of testing          19:44:23

12           one's website to see that issues within the          19:44:27

13           technology can be resolved .    Okay?   So there's   19:44:33

14           nothing on this page that says that one has to       19:44:41

15           comply with -- or the Department of Justice is       19:44:46

16           saying that you have to comply with the WCAG         19:44:50

17           standard, but I don't think you can separate         19:44:52

18           the WCAG Guidelines from the ADA requirements        19:44:54

19           because there has to be some standards, there        19:45:02

20           has to be things in which you're doing .             19:45:04

21           Otherwise the ADA itself doesn't -- doesn't          19:45:06

22           exist .                                              19:45:16

23                 You know, it doesn't have a way of             19:45:17

24           providing a level of interoperability for            19:45:20

25           people that need it .                                19:45:27

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 1      BY MS . TUTUNDJIAN:                                             19:45:32

 2          Q       So is it your testimony that the US                 19:45:32

 3      Department of Justice's guidelines are inaccurate?              19:45:34

 4                   MR . COELHO:     Objection .     Misstates prior   19:45:39

 5              testimony .     Argumentative .     You can answer .    19:45:42

 6                   THE WITNESS:      I think what I'm saying is       19:45:45

 7              if I would have read that full sentence that            19:45:47

 8              or the full paragraph,      "Existing technical         19:45:50

 9              standards provide helpful guidance concerning           19:45:55

10              how to ensure accessibility of website                  19:45:55

11              features .    These include the Web Content             19:45:59

12              Accessibility Guidelines, WCAG, and the                 19:46:03

13              Section 508 standards, which the Federal                19:46:08

14              Government uses for its own website . "                 19:46:09

15                   So for the Federal Government to be in             19:46:13

16              compliance, they're using the standards of WCAG         19:46:17

17              and Section 508 to meet that requirement .              19:46:20

18                   So I don't know if that answers your               19:46:31

19              question .    So being able to comply with WCAG is      19:46:32

20              an important part of being able to meet the ADA         19:46:39

21              requirement .                                           19:46:44

22      BY MS . TUTUNDJIAN:                                             19:46:46

23          Q       So my question is, is it your testimony             19:46:47

24      that a website must adhere to the WCAG in order to              19:46:53

25      comply with the ADA?                                            19:47:02

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 1                   MR . COELHO:    Objection .   Calls for a legal     19:47:05

 2              conclusion.     You can answer.                          19:47:06

 3                   THE WITNESS:      I'm not an attorney, but I        19:47:14

 4              think the applicability of a website in meeting          19:47:15

 5              the WCAG standards goes a long way to                    19:47:22

 6              determining whether or not there are issues and          19:47:26

 7              barriers with that website .                             19:47:30

 8      BY MS . TUTUNDJIAN:                                              19:47:32

 9          Q       Is it necessary for a website to comply              19:47:32

10      with the WCAG in order to be ADA-complaint?                      19:47:38

11                   MR . COELHO:    Same objection .                    19:47:44

12                   THE WITNESS:     Again, I'm not an attorney .       19:47:49

13              I can't make the legal call here .       But             19:47:50

14              compliance with WCAG goes a long way to help             19:47:56

15              establishing that the website components would           19:48:00

16              operate appropriately for a disabled person and          19:48:06

17              therefore it would be in ADA compliance.        I        19:48:11

18              don't think you can separate the two .                   19:48:15

19      BY MS . TUTUNDJIAN:                                              19:48:18

20          Q       I can appreciate that, but what I'm trying           19:48:18

21      to get at is you're saying it goes a long way .             My   19:48:20

22      question is different .       Which is, is it necessary          19:48:24

23      for a website, like Fashion Nova's, to comply with               19:48:28

24      the WCAG Guidelines in order to be ADA-complaint?                19:48:33

25                   MR . COELHO:    Same objections .                   19:48:40

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 1                   THE WITNESS:      I think that the compliance   19:48:51

 2              with WCAG addresses -- I think that the              19:48:53

 3              compliance with WCAG establishes whether or not      19:49:04

 4              the components of the website would operate in       19:49:07

 5              a way in which disabled people could                 19:49:13

 6              effectively use the website .                        19:49:17

 7                   If one is not -- if a website is not            19:49:24

 8              compliant with WCAG, then most likely they will      19:49:28

 9              have a variety of issues and barriers which          19:49:44

10              would absolutely cause them not to be                19:49:47

11              ADA-complaint .                                      19:49:51

12                   So I don't know of a provision that has         19:49:54

13              ever said you have to be WCAG-compliant, but I       19:50:02

14              don't think that's how the standard is being         19:50:06

15              applied for people within this space or the          19:50:09

16              Federal Government .                                 19:50:13

17                   It's a standard -- it's a standard to be        19:50:17

18              measured and tested against and that's how it's      19:50:19

19              being applied .   But as far as a hard fast rule,    19:50:25

20              I haven't seen one .                                 19:50:27

21      BY MS . TUTUNDJIAN:                                          19:50:30

22          Q       And it's not the only standard, right?           19:50:31

23                  As the Department of Justice's website           19:50:33

24      says,    "Businesses and state and local governments         19:50:35

25      have flexibility in how they comply with the ADA's           19:50:38

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 1      requirements . "                                            19:50:41

 2                   And the WCAG is just one of the standards.     19:50:41

 3      Section 508 is another of the standards.                    19:50:45

 4            A      That's correct .   But I believe 508 has       19:50:51

 5      limitations and it's specifically towards                   19:50:53

 6      governmental entities.                                      19:50:57

 7            Q      But the point being is there are other         19:50:58

 8      standards and there is flexibility?                         19:51:01

 9            A      Well, if we're talking about government        19:51:03

10      websites, there are definitely two standards that           19:51:06

11      according to this document that they're following .         19:51:09

12      But if 508 doesn't apply to commercial websites,            19:51:11

13      then WCAG is sort of the default standard is being          19:51:21

14      applied across the board here, right?                       19:51:30

15                   So as other standards, yeah, this document     19:51:32

16      being from a government entity is reflecting more           19:51:37

17      than one standard.                                          19:51:40

18            Q      But this document does more than that .        19:51:42

19      This document isn't focused on just government              19:51:44

20      websites .     It's saying businesses and state and         19:51:46

21      local governments have flexibility in how they              19:51:49

22      comply with the ADA requirements .       It then offers     19:51:52

23      two exemplar guidelines .                                   19:51:56

24                    MR. COELHO:   Objection.                      19:52:00

25      Ill                                                         19:52:01

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 1      BY MS . TUTUNDJIAN:                                            19:52:01

 2          Q       My question to you is, would you agree that        19:52:02

 3      websites such as Fashion Nova have flexibility in              19:52:08

 4      how they comply with the ADA's requirements?                   19:52:11

 5                   MR . COELHO:    Objection .    Argumentative .    19:52:15

 6              Asked and answered .     Harassing the witness .       19:52:15

 7              You can answer .                                       19:52:21

 8                   THE WITNESS:      Okay .   The document does      19:52:22

 9              specifically begin with stating that businesses        19:52:23

10              and state and local governments have                   19:52:25

11              flexibility in how they comply with the ADA            19:52:26

12              general requirements of non-discrimination and         19:52:29

13              effective communication .       But they must comply   19:52:32

14              with the ADA requirements .                            19:52:36

15                   Then jumping down three paragraphs we get         19:52:39

16              into the middle of that third paragraph and two        19:52:43

17              standards were identified, one of them being           19:52:51

18              WCAG, the other one being Section 508 standard         19:52:54

19              which it states that the Federal Government            19:52:59

20              uses for its own website .                             19:53:01

21                   We're back to the whole point of the first        19:53:05

22              paragraph, the last sentence is probably the           19:53:09

23              most important part of whatever a company does         19:53:13

24              or a business does, they must comply with the          19:53:17

25              ADA standard .     So the question becomes how does    19:53:20

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 1              one comply with the ADA standard and how does           19:53:24

 2              one show that they're in compliance?                    19:53:27

 3                       Well, if you don't -- the ADA isn't going      19:53:31

 4              to provide you that information because when            19:53:34

 5              you're dealing with the fluid dynamic nature of         19:53:36

 6              a website such as Fashion Nova, you better have         19:53:42

 7              something to test against and show that you've          19:53:44

 8              addressed issues or that these issues don't             19:53:47

 9              exist or whatever.                                      19:53:49

10                       And in this case the Web Content               19:53:51

11              Accessibility Guideline is there .       And in         19:53:54

12              testing Fashion Nova against WCAG, there are            19:53:59

13              issues .                                                19:54:07

14                       So I agree with you that's what the            19:54:09

15              document says .     I don't think that it's clear       19:54:11

16              as to how one is to comply with ADA                     19:54:14

17              requirements unless they have a standard to             19:54:19

18              remediate to and to test to .       And that would be   19:54:21

19              WCAG .                                                  19:54:25

20      BY MS . TUTUNDJIAN:                                             19:54:26

21          Q        Right .    But the page again says these           19:54:28

22      include the WCAG and Section 508 .                              19:54:31

23                   Is there anything in this guidance from the        19:54:35

24      Department of Justice that says that the only way               19:54:38

25      for a website to be ADA-complaint is by adhering to             19:54:41

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 1      the WCAG Guidelines?                                            19:54:45

 2          A       There is nothing there that says that               19:54:52

 3      compliance can only be met through the WCAG                     19:54:54

 4      Guidelines .       But there's nothing there that says          19:54:55

 5      that other than they must comply with the ADA                   19:54:59

 6      requirement .                                                   19:55:03

 7                  And this document fails to describe exactly         19:55:03

 8      how a website would be ADA -- would comply with                 19:55:06

 9      those requirements, except for later referencing                19:55:11

10      that WCAG is what the Federal Government uses in its            19:55:15

11      own website .                                                   19:55:19

12          Q       Well, not quite .     It says,    "Existing         19:55:21

13      technical standards provide helpful guidance                    19:55:24

14      ensuring how to ensure accessibility of website                 19:55:27

15      features,    these include the WCAG and Section 508             19:55:30

16      standards which the Federal Government uses for its             19:55:34

17      own websites."                                                  19:55:36

18                  So it's not saying that you have to use             19:55:37

19      WCAG, nor is it saying you have to use Section 508 .            19:55:42

20                   MR . COELHO:    Objection .     Argumentative .    19:55:48

21              Counsel is testifying .     The document speaks for     19:55:51

22              itself .   Asked and answered .      You can answer .   19:55:51

23                   THE WITNESS:     Respectfully, I also think        19:55:58

24              you misstated what my testimony was.         What I     19:55:59

25              said is that the WCAG Guidelines were                   19:56:04

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 1              identified and the Federal Government uses it         19:56:08

 2              in its own website.                                   19:56:13

 3                    I didn't say anything about it having to        19:56:14

 4              have been used, but the Federal Government is         19:56:16

 5              using it .    The closest thing to "you must          19:56:18

 6              comply with the ADA requirements" and here's          19:56:23

 7              what we're doing, is basically what they're           19:56:26

 8              saying here .                                         19:56:28

 9      BY MS. TUTUNDJIAN:                                            19:56:29

10          Q       Is it your testimony that this document,          19:56:29

11      the guidelines for the DOJ say that we are adhering           19:56:31

12      and following the WCAG and Section 508 standards and          19:56:37

13      so should you?                                                19:56:41

14                   MR . COELHO:     Objection .   Misstates prior   19:56:47

15              testimony .     Misstates the document .   You can    19:56:49

16              answer .                                              19:56:51

17                   THE WITNESS:      The document states,           19:56:51

18              "Existing technical standards provide helpful         19:56:52

19              guidance concerning how to ensure accessibility       19:56:56

20              of website features .     These include the Website   19:57:00

21              Content Accessibility Guidelines and                  19:57:02

22              Section 508 standard .     Which the Federal          19:57:04

23              Government uses for its own website . "               19:57:07

24                   So it's stating that the Federal                 19:57:13

25              Government uses WCAG in the process of                19:57:14

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 1              maintaining, managing the website, testing the         19:57:23

 2              website, ensuring compliance.          And the only    19:57:25

 3              compliance is back to complying with ADA               19:57:28

 4              requirements .                                         19:57:30

 5      BY MS . TUTUNDJIAN:                                            19:57:31

 6          Q       Well, it says it uses WCAG and Section 508 .       19:57:32

 7      So again, my question is, does the US DOJ's guidance           19:57:35

 8      state that a website such as Fashion Nova's must               19:57:42

 9      adhere to the WCAG in order to comply with the ADA?            19:57:46

10      That is all I'm asking.                                        19:57:52

11                   MR . COELHO:     Same objections .                19:58:00

12                   THE WITNESS:      This document does not          19:58:00

13              define ADA requirements as it relates to WCAG          19:58:01

14              or anything else .                                     19:58:09

15      BY MS . TUTUNDJIAN:                                            19:58:17

16          Q       Aside from defining ADA requirements, does         19:58:17

17      it state anywhere in the guidelines that you have to           19:58:20

18      adhere to the WCAG in order to be ADA-complaint?               19:58:23

19                   MR . COELHO:     Objection .   Document speaks    19:58:31

20              for itself .     Asked and answered .                  19:58:31

21              Argumentative .     You can answer .                   19:58:32

22                   THE WITNESS:      The document only states        19:58:38

23              that businesses, state and local governments           19:58:41

24              must comply with the ADA requirements, but it          19:58:44

25              does not define it .      And then it references       19:58:46

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1               WCAG is being used on Federal Government                19:58:49

2               websites.                                               19:58:54

3       BY MS. TUTUNDJIAN:                                              19:58:54

4           Q       And it says that businesses and state and           19:58:54

5       local governments have flexibility in how they                  19:58:57

6       comply with the ADA requirements, correct?                      19:58:59

7           A       It does say that, yes.                              19:59:06

8                    MS. TUTUNDJIAN:      All right.    I have no       19:59:12

9               further questions.                                      19:59:13

10                   MR. COELHO:     Okay.    Let's go off the          19:59:13

11              record.                                                 19:59:14

12                   THE VIDEOGRAPHER:       We are off the record.     19:59:16

13              The time is 7:59 p.m.                                   19:59:18

14                  (Off the record.)                                   19:59:22

15                   THE VIDEOGRAPHER:       We are back on the         20:03:35

16              record.     The time is 8:03 p.m.                       20:03:35

17                   MR. COELHO:     All right.     I just have a few   20:03:40

18              questions.     Thank you for taking the time.       I   20:03:42

19              know it's been a long day for you, especially           20:03:46

20              being on the east coast.                                20:03:48

21                                                                      20:03:49

22                                 EXAMINATION                          20:03:49

23                                                                      20:03:50

24      BY MR. COELHO:                                                  20:03:50

25          Q       Earlier in the deposition you mentioned not         20:03:50

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 1                           REPORTER'S CERTIFICATE

 2            I, VICTORIA A. GUERRERO, California Certified Shorthand

 3      Reporter, Registered Diplomate Reporter, Registered Merit

 4      Reporter, Certified Realtime Reporter, do hereby certify

 5      that, pursuant to Federal Rules of Civil Procedure, ROBERT

 6      D. MOODY appeared remotely before me at the time and place

 7      mentioned in the caption herein; that the witness was, by

 8      me, first duly sworn/affirmed under oath and examined upon

 9      oral interrogatories propounded by counsel;

10            that said examination together with the testimony of

11      said witness was taken down by me in stenotype and

12      transcribed through computer-aided transcription; I further

13      certify that I am not a relative or employee of any attorney

14      of the parties, nor financially interested in the action;

15            and the foregoing transcript, pages 1 through 238,

16      review requested by the witness or a party, constitutes a

17      full, true, and correct record of such testimony adduced and

18      oral proceedings had and of the whole thereof.

19           WITNESS MY HAND AND DIGITAL SIGNATURE this Thursday,

20      November 2, 2023.

21

22



23      Victoria A. Guerrero, CSR, RDR, RMR, CRR

        Oregon CSR No. 14-0428       ( exp . 9 - 3 O- 2 O2 4 )

24      Washington CCR No. 3293      ( exp . 3 - 15 - 2 O2 4 )

        California CSR No. 8370      ( exp . 3 - 15 - 2 O2 4 )

25      Hawaii CSR No. 490           (exp. 12-31-2023)

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                                        UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


JUAN ALCAZAR, individually and on
Behalf of others similarly situated,
       Plaintiff,

vs.

FASHION NOVA, INC., a California
Corporation; and DOES 1 TO 1 0, inclusive,
________________
      Defendants.
                                                         /



                                        Expert Regort of Robert D. Moody

Forensic Data Services, Inc., d/b/a FDS Global (hereafter referred to as FDS Global),
have been retained by the Wilshire Law Firm on behalf of its client(s), who includes Juan
Alcazar.

The Wilshire Law Firm, in this present case, has brought a class action lawsuit alleging
the Defendant, Fashion Nova, Inc's website contains barriers that prevent the use of the
website by disabled persons, the Plaintiff being one.


I, Robert D. Moody, am the President, CEO, and Principal Investigator for FDS Global.
I am certified in the areas of Information Systems Auditing, Information Security, and
Computer Forensics, among others.


I have undertaken and completed training relating to the ADA application to websites
and the development and use of websites by disabled persons.


I have been asked and authored ADA audit reports on approximately 2000 different
websites.


I have provided my expertise to both Plaintiffs and Defendants and have on occasion
been asked to help Defendants remediate their websites post-settlement and to provide
post-settlement evaluations of websites once remediation efforts have been completed.

I am being compensated at a rate of $450/hour. No part of my compensation is
contingent upon my opinion.


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To further improve its FDS Global has partnered with Deque Systems, Inc., a leader in
the ADA website issue identification and remediation space, and have incorporated its
identification software and methodologies into FDS' own practices for website auditing
and reporting . I have attached my CV as Exhibit 1 to better explain my education and
experience.

Defendant website

The Defendant's website, as identified in the complaint, is
https://www.fashionnova.com . This is the website FDS Global evaluated and is the
subject of this report.


Material Reviewed as part of FDS' Examination

FDS was retained to audit the afore-identified website and to render an opinion as to
whether or not the website https://www.fashionnova .com included barriers that would
prevent disabled persons, such as the Plaintiff, Mr. Juan Alcazar, from using the
website.

As part of my review, I was provided with the following supporting information:

                  •     42 declarations were submitted by disabled persons who attempted to
                        use the afore-identified website.

                  •     Expert report of Accessibility Consult ant, Kannan Arumugam .

                  •     Expert report of Dr. Jon A. Krosnick.


Additionally, I have access to the website located at https://www.fashionnova.com as
well as earlier instances of the website through the Wayback machine located at
web.archive.erg.


The above information was reviewed as to create an understanding of the issues and
facts in this matter. All opinions and conclusions are based on my work and the results
from my testing and analysis.


Review Process

FDS Global's review process can be summarized as fo llows:




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     •     First, there is a review of the complaint and all supporting material. This is to
           identify both general and specific issues raised with Defendant's website.

     •     Second, a manual review of the website is performed to test the elements of
           WCAG as well as any concerns raised in paragraph 16.

     •     Third, Automated analysis of Defendant's website using industry standard tools
           that may include WAVE and Deque.

     •     Fourth, A review of any third-party accessibility software or widgets (if any exist)
           are reviewed and tested to determine if the add-on features improve accessibility.

     •     Fifth, when possible, a review of earlier websites is performed through the
           Wayback machine in an attempt to understand whether or not the issues (if any
           exist) are systemic to the site or whether they are specific to the version that is
           active at the time of the review.

     •     Sixth, the website's accessibility policy (if it exists) is reviewed and tested. This is
           to identify if Defendant has provided an alternate means for its patrons to access
           the store's resources and obtain the information and/or make the purchase the
           patron could not accomplish through the direct use of the website.


Issues Raised in Declarations by Plaintiff and Others

A review of 42 declarations, provided by Plaintiff's counsel, showed that all patrons were
attempting to visit the https://www.fashionnova.com website for the purpose of
researching and purchasing products sold by Fashion Nova.

In each of the 42 declarations reviewed, the attempt to access the website and use
assistive technology resulted in barriers occurring thus making it impossible for the
declarant from accessing, researching, and purchasing products.


Specific examples of the issues include but are not limited to:

                  •     Issues with the website loading into the Plaintiff's screen reader and
                        having its contents properly and clearly interpreted so that the patron
                        could understand what was being relayed by the software, for that portion
                        of the website.

                  •     There was a conflict in content being loaded when it had to be interpreted
                        by the screen reader.




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                 •     Contrast issues.

                 •     Links contained within the website were broken, unavailable or lacked
                       proper functionality.

                 •     Links and pictures lacked descriptions and could not be properly
                       interpreted by screen readers .

                 •     Functionality and workflow of the site did not work correctly when a
                       screen reader was enabled.


Issues Identified by Kannan Arumugam, Accessibility Consultant


Mr. Arumugam's testing of Defendant's website mirrored how Plaintiff(s) would have
accessed the site.

The testing employed by Mr. Arumugam identified many of the issues identified by the
patrons who submitted declarations and are referenced above.

Issues identified include but are not limited to:

                 •     Links could not be interpreted by the screen reader software.

                 •     Color Contrast issues exist.

                 •     Images and links lacked Alt-Text thus hindering screen readers'
                       interpretation of the link or the image's content.

                 •      Forms found on the website were not properly designed and could not be
                        interpreted using assistive technology.

                 •      Program issues exist thus making the use of a keyboard-only environment
                        impossible.


Manual Review of https://www.fashionnova.com
The manual review FDS performs of Defendant's website is a key component in
understanding how a website behaved given the different variables each Plaintiff would
bring with their technology.

FDS' review used different computer operating systems, different screen readers, and
different web browsers among other variables .


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During its testing WCAG guidelines provided the standard for FDS' review. This allowed
FDS to evaluate the site and its components but also claims made by the Declarant and
the accessibility consultant.



In its review, FDS identified that there is an issue in the website in the way in which it
interacts with different screen readers .
The screen readers do not work properly on the Defendant's website and will begin and
stop reading content without user interaction, skip content, skip over links and text if the
interaction is required and the user pauses for too long.

A contrast check was performed and found that some images failed the WCAG
recommended color balance. This was further verified in the automated testing.

The forms and special features such as the checkout feature will cause the system to
freeze or in the alternative stop the screen reader from working correctly.

Simpler issues such as account links, images having no alternate text, being mislabeled,
or having program issues causing the screen reader to skip them altogether exist as
well.
Automated Review Tools
Two ADA Site audit tools were used to evaluate the current version of the website.
These tools are:

                 •     WAVE
                 •     Deque
These tools are designed to examine the website's logic and computer code for issues
that would create barriers to the website's use by disabled patrons.

The main advantage of using these programs is that it allows for an effective way to
look for issues that may be hidden from the naked eye and point toward systemic
design problems or flaws .

FDS evaluated the Defendant's current website with WAVE. As described, the software
evaluated the website's code and logic for issues that would point to the creation of
barriers for disabled patrons.

WAVE identified the following:

                  •     Errors              126
                  •     Contrast Errors     11
                  •     Alerts              26
                  •     Features            19


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                •     Structural Elements   72
                •     Aria Issues           121

Deque Site Evaluation was performed, and th e following were identified:

                 • Total Issues:            444
                 • Critical :               358
                 •     Serious:             74
                 •     Moderate:            1
                 •     Minor:               11

The two reports provide data regarding the logic and programming and where issues
exist that would create barriers for disabled patrons. These reports strongly suggest
that critical operations are being overlooked and thus making the use of the website an
impossibility for those with disabilities.

3rd Party Accessibility Software and Widgets
This website does not employ 3rd Party Accessibility Software or Widgets as a way to
overcome the technical issues being experienced by patrons.

Earlier Website Review

FDS reviewed the 42 Declarations provided by Plaintiff's Counsel. These declarations
provided that the Defendant's website was accessed in 2019 but the majority of the
access was in 2020.

No matter the date of access, the Declarant stated that they had issues with navigating
the Defendant's website, even with the use of assistive technologies such as screen
readers.

The Internet Archive Wayback machine (hereafter referred to as Wayback) is a website
archival tool owned by the Internet Archive, a non-profit whose mission is to build "a
digital library of Internet sites and other cultural artifacts in digital form ."

Wayback uses computer programs known as "bots" or "spiders" to capture the contents
of websites. The bots are autonomous and crawl across the internet looking for data to
copy/capture and then return and store the information .

Wayback's portal provides users with a place to put in a URL for a particular website. If
the website had been captured, information about the website is displayed.

In the case of the Defendant's website, Wayback has captured the site 4,752 times
between 2004 and 2023.




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Based on the Declarations reviewed, the Declarants stated that their access was
primarily in the months of August, September, and October 2020.

During this time period, Wayback captured and stored 61 renditions of Defendant's
website.

Using a combination of Wayback and the automated testing of Deque, FDS was able to
test the Defendant's website for specific dates in 2019 and 2020.

The following chart identifies a date the Defendant's website was visited by a Declarant,
the date Wayback captured a copy of the website, and errors identified by the Deque
software.
                       ;                                          ..   -            ~,; ,~i .; l   • _,,~ '"-
                              '1   : •.~:-   i 1 , ' i' j~; ;,-            ,1 1 ,


                                     1       5/31/2019                              5/29/ 2019                  46
                                     2       8/2/2020                               8/ 5/2020                   86
                                     3       8/27/2020                              8/ 29/2020                   85
                                     4       9/1/2020                                9/ 1/2020                   81
                                     5       9/15/2020                              9/19/2020                   128
                                     6       10/ 6/ 2020                            10/7/2020                   121


The data presented is representative of the errors that existed in the Defendant website
and strongly suggests that there are systemic or programmatic errors that existed at
this time and well into the present.

Defendant's Website Accessibility Policy

The accessibility policy (hereafter referred to as AP) on any website serves as notice to
the user of the website's owner's commitment to providing access to its website and the
products and services the owner sells. Additionally, the AP provides an alternate means
for the patron to connect with the owner and receive assistance in obtaining
information, researching products and services, making purchases, returns and conduct
whatever business the patron may have or would have conducted through the website
itself.

Not having an AP or not having a properly functioning AP is a barrier for disable patrons
and will prevent the disabled patron from being able to use and interact with the
company on any level.

In the current matter, FDS checked the current website for an accessibility policy. None
could be found.

Additionally, using Wayback, FDS checked earlier versions of the Defendant's website,
specifically at or around the dates the Declarant accessed the website and no AP could
be found.




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Conclusion

The data and documents provided to FDS, for its review, clearly show that the
Defendant's website located at https://www.fashionnova.com has been systematically
and programmatically flawed since at least 2018 and thus has created barriers for
disabled patrons for years.

The Defendant's website is fluid by the nature of its industry always subject to updating
photos and customer discounts in an attempt to drive traffic and sales. Unfortunately,
where there are issues with picture contrasts or proper alternate texts for the newly
added items, the main issues have to do with operational and program issues that are
magnified when a disabled user has to use assistive technology during their visit to the
website.

Whether it be from the declarations, the testing by other accessibility consultants, or
from FDS' own analysis, the record is clear, and Defendant's website has major issues
when a user is accessing the website while using screen readers or other ADA-approved
assistive technologies.

Once the site falters or fails, a company that has an Accessibility Policy and provides
dedicated phone numbers and ema ils can provide an alternate means for the disabled
patron to continue or save their shopping experience.

In the present case, this is not possible as the Defendant does not provide this option.

The failure of the Defendant's website and its compatibility issues with screen readers
does more than limit the access to online research and purchases . It can and does
impact the disabled user from accessing brick-and-mortar locations, phone numbers,
and store hours thus preventing any commerce with the store directly.

To conclude, it is my opinion, and based upon reasonable scientific certainty that the
Defendant, Fashion Nova Inc., who operates the website https://www.fashionnova.com,
has program and design issues in its website that has been systemic for years and as
such has created access barriers for disabled users that are both physical and digital in
nature and thus violates the disabled users rights as provided under the ADA.

The Defendant's ability to provide a WCAG compliant website does not appear to have
been undertaken and even though an alternate means for providing assistance in the
event of a website issue is available to the Defendant, a properly functioning
Accessibility Policy, the Defendant has not availed themselves of this option .




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 As presented in the declarations provided, a disabled user, using assistive technology
 such as a screen reader, would be frustrated by the Defendant's website partially failing
 or crashing thus preventing its use and forcing the disabled user to disconnect and not
 complete his or her business with the Defendant. Given that no alternate means was
 available to the disabled user, as well as creating the physical barrier of preventing the
 disabled user from locating phone numbers, store locations, and hours of operation is
 out of the question.
 I declare under penalty of perjury under the laws of the State of California and the
 United States of America that the foregoing is true and correct.
 Respectfully Submitted,




?.. l
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 (954) 727 - 1957

 23 June 2023




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                                           Robert D. Moody




Contact Information

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(954) 727 - 1957
(954) 854 - 6004


Education

Nova Southeastern University, Broward County Florida, Bachelor of Science, 1990

St. Thomas University School of Law, Miami-Dade County Florida,Juris Doctorate, 1993

Oxford University, O xford England, PGDip -     Global Business, 2017


Certification

Certified as an Information Systems Auditor (CISA), Information Systems Audit and Control Association, 2002

Certified as an Information Security Manager (CISM), Information Systems Audit and Control Association, 2003

Certified in Computer Forensics, Oregon State University, 2003

Certified as an Access Data Certified Examiner (ACE), Access Data Corporation, 2009, 2015

Certified in Blockchain Essentials, eCornell, Cornell University, 2021

Forensic Explorer Certified Examiner (FEXCE), GetData Forensics, 2022




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Blockchain Training

   •    Cryptocurrencies and Ledgers, eCornell, Cornell University

   •    Blockchain Fundamentals, eCornell, Cornell University

   •    Cryptography Essentials, eCornell, Cornell University

    •   Applications of Blockchain Technology, eCornell, Cornell University


ADA I Website Accessibility Training

   •    Web Accessibility: Learn the Best Practices, Tools, and Techniques

   •    Web Accessibility Testing-Selenium, BDD, Axe, Pally,Jaws, NVDA

   •    Responsive Web and Mobile Development in HTML, CSS & JavaScript

   •    Creating Accessible Websites

   •    HTML

   •    Create Mobile-Friendly Web Apps with HTML

   •    Web Content Accessibility Guidelines (WCAG) 2.1 Simplified

   •    Introduction to UX design for Accessibility and WCAG 2.0

   •    Technological Adaptability

   •    What to Look for in an Accessibility Audit

   •    T he ROI of Digital Accessibility

   •    What to Expect from an Accessibility Audit

   •    Accessibility and Compliance: How to Measure Digital Accessibility

   •    Introduction to Screen Readers

   •    Android Native Mobility Accessibility

   •    IOS Native Mobile Accessibility


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Expert Witness Experience
United States of America v. Christopher Chappell, In the United States District Court for the Southern District of
Florida, Case No. 22-60148-CR-SMITH, testified at Sentencing Hearing as to the lack of CSAM on the Defendant's
devices and to the condition of metadata from mobile devices that contradicted the testimony of the Government's
witnesses.
State of Florida v. Joseph Baldino, In the Circuit Court of the 19th Judicial Circuit In and For St. Lucie County,
Florida, Case No. 562011CF1300, Case on Appeal, Testified as to work I performed in support of Defendant's
appeal. (Deposition)

State of Florida v. Michael Tateishi, In the Circuit Court of the 10th Judicial Circuit, In and For Polk County
Florida, Case No. 2020-CF009494, testified as to the need to inspect evidence and the protocol for doing so when
evidence contained CSAM. (Hearing)

Dean Allen Burri, et al v. EBS South, Inc., et al, In the Circuit Court of the 11 th Judicial Circuit, in and for Miami-
Dade County, Florida (Civil Division), Case No. 2021-004 363-CA-01, Testified as to different issues that occurred
in the case. (Multiple Hearings)

Latasha West v. Moral Foods. LLC., In the Circuit Court of the 17 th Judicial Circuit, In and For Broward County,
Florida, Case No.: CACE-14-017346 (09), Testified as to the process and analysis associated with surveillance
video footage provided by Defendant. (Deposition)

Coastal Construction Company of Palm Beach. Inc. d/b/a Coastal Construction of Palm Beach v. Roll
Plumbing Companv. Inc., In the Circuit Court for the 11th Judicial Circuit, In and for Miami-Dade County,
Florida, Case No.: 08-56455-CA-23, Testified at Evidentiary Hearing regarding the destruction of data and the
likelihood of valuable evidence existing if the hard drive had not been tampered with. (Evidentiary Hearing)

Jason Lee and Fine Marketing Solutions. LLC v. Kenneth A. Orr, Evan H, Berger. Triumph Small Cap Fund.
Inc. J.D. Lauren, Inc. Solar Grid Capitol. Inc. and Ecologix Resource Group, Inc., In the Circuit Court for the
11th Judicial Circuit, In and For Miami-Dade County, Florida, Case No.: 2012-031582-CA-OI, Testified at
Evidentiary Hearing regarding the process for examining evidence. (Evidentiary Hearing)


C.T. and L.T. individually and as parents and Guardians of B.T., a minor v. A.S. and M.S. and SS, a Minor, In the
United States District Court for the Southern District of Florida ... Records Sealed. (Testified at Hearings)

Mary Laurine Umstead v. Horizon Bay Mgt, LLC, et al. In the Circuit Court of the 13th Judicial Circuit of the
State of Florida in and For Hillsborough County, Circuit Civil, Testified at Trial as to whether or not the
information contained in an E lectronic Medical Record system was accurate and whether or not certain
operational practices were followed. (Trial)
In Re: Rothstein Rosenfeld and Adler, US Bankmptcy Court for the Southern District of Florida, Case No. : 09-
34791-BKC-RBR, Testified at Evidentiary Hearing to qualifications and to be appointed as the Court's expert.
Accepted as an Expert and appointed to address complex technical issues facing the Court and issued a report on
the same. (Evidentiary Hearing)

 United States of America v. Michael Meister, United States District Court Middle District of Florida, Case No.
 8:10-CR-339-T-26AEP, Testified at Evidentiary Hearing regarding the complex issues involved in the
 collection, and preservation, review, and analysis associated with the Governments case. (Evidentiary Hearing)



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United States of America v. William Vazquez Rivera, In the United States District Court for the District of Puerto
Rico, Criminal Number 09-361 GAF), Testified at Trial regarding issues with identifying the specific location of
a computer as well as identifying the individual who was at the computer at a specific date and time. (Trial)
Mathew Beck. et al. y. Boce Group, LLC d/b/a Next Cafe. et al. US District Court for the Southern District of
Florida, Case No.: 04-20683-CIV-Cooke, testified regarding the destruction of computer data, the existence of an
audit trail, and the possible manipulation of time-keeping records. (Deposition and Trial)

Health Trio v. Ralph Korpman. et al. In the Chancery Court for Davidson County, Tennessee, 20th Judicial
District, Civil Action No., 05-559-111, Testified on the potential destruction of evidence, a possible violation of
a court order preserving all information on the computer, and the possible destruction of evidence through the
use of file scrubbing software. (Deposition and Trial)
William P. Planes, Sr. y. Rocky Shirey. et al., In the Circuit Court for the 6th Judicial Circuit in and for Pinellas
County, Florida, Case o.: 06-9077-CI-19, Testified at Evidentiary Hearing regarding issues involving the
identification and preservation of data belonging to the Defendants. (Evidentiary Hearing)

Tan Bronstein v. Marc Bronstein, United States District Court, Southern District of Florida, Case No.: 0680656,
-
Testified at deposition regarding the ownership and go-live date of a company's website and its domain.
 (Deposition)
In Re: The Marriage of Stuart Pressman and Wendy Bulgrin. In the Circuit Court of the 17th Judicial Circuit in
and for Broward County, Florida, Case No.: 06-008172, Testified on topics that included the collection,
preservation, and processing of data stored within a Point-of-Sale System used by the couple's business and
inventory issues. (Evidentiary Hearing, Deposition, and Trial)

Building Education Corporation v. Jose Manuel Fernandez. et al. In the Circuit Court of the 11th Judicial Circuit
in and for Miami Dade County, Florida, Case No.: 03-15909 CA 09, Testified at Evidentiary Hearing providing
information to the Court for possible selection as a neutral expert in the investigation and tracking ESI through
a large IT infrastructure. (Evidentiary Hearing)
Microsoft Corporation V. Big BQY Distribution. LLC/ In the United States District Court in and for the
Southern District of Florida, Case No.: 07-80296-CIV-Hurley/Vitunac, testified at deposition regarding the
examination of Plaintiffs e},.'Pert's report and the methods used by the said expert in coming to their conclusions.
(Deposition)
Orlando/Orange County Expressway Authority v. Tuscan Ridge. et al., In the Circuit Court of the 9th
Judicial Circuit in and for Orange County, Florida, Case No.: 2006-CA-006250-O, Testified at Evidentiary
Hearing regarding establishing the true and correct Metadata information associated with computer files created
by an expert in an Eminent Domain action. (Evidentiary Hearing)

Med Qata Infotech USA, Inc. v. Unnikrishnan Thankappan. et al, In the Circuit Court of the 6th Judicial Circuit
in and for Pasco County, Florida. Case No.: 51-2004-CA-00321WS, testified at deposition regarding the contents
of several hard drives containing information relating to computer software created by Plaintiff. (Deposition)
Contractors. Inc. v. Turner Construction Company, et al. In the Circuit Court of the 11th Judicial
Circuit, in and for Miami-Dade County, Florida, Complex Business Litigation Section, Case o.: 02-32516CA-
40, Testified at Evidentiary Hearing regarding addressing the collection, preservation, processing, analysis, and
possible destruction of evidence. (Evidentiary Hearing)

Benjamin J. Philips, Ill y. Oracle USA, Inc: In the Circuit Court of the 4th Judicial Circuit, in and for Duval
County, Florida, Case No.: 16-2007-CA-006905-XXXX-MA, Division CV-E, Testified at Evidentiary Hearing
regarding issues surrounding the destruction of evidence from a company-owned laptop used by Plaintiff.
(Evidentiary Hearing)
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Jessica Lane v. Adam Gerry. In the Circuit Court for the 20th Judicial Circuit in and for Collier County,
Florida, Civil Action No. 08-9521-CA, testified at deposition regarding issues surrounding the disappearance
of a laptop and the information found on the device after it had been recovered. (Deposition)

The Florida Bar v. Jeremy W. Alters. In and for the Supreme Court of Florida (Before a Referee) Supreme
Court Case o.: SC14-100, Testified at Trial regarding cellphone data being deleted and process for
examining evidence. (Trial)

Teaching and lectures by Topic

     •   FBI Retired Agent's Event- "What one can recover from a mobile device."


     • Adjunct Professor -         IE Business School, Madrid Spain, master's 1n cyber security, my area of
         responsibility is in Digital Forensics and Computer Crimes.


     •   Computer Forensic Issues important to the Criminal Defense Bar. Private event sponsored by FDS. In
         May 2016, Event provided instruction on six different forensic challenges facing criminal defense
         attorneys in practice.


     • Mobile Devices and BYOD / CYOD: the eDiscovery Challenges, Panelist, LawTech Europe Congress
         2015 Conference, October 2015.

     • The Lifecycle of Electronic Evidence - Have we Finally Got it Right? Panelist, LawTech Europe
         Congress 2015 Conference, October 2015.

     •   Cellular Phone Tracking Via Cell Towers - Dispelling the Postmortem .Analysis Myth, 7th European
         Academy of Forensic Science Conference, September 2015.

     •   Digital Security and the Dangers Facing Every Employer, 7th European Academy of Forensic Science
         Conference, September 2015.

     •   Cellular Phone Tracking Via Cell Towers -Dispelling the Postmortem Analysis Myth, High Technology
         Crime Investigation Association, August 2015.

     •   48 Hours of a Cyber Security Breach - What to Do from a Technical Standpoint: A First Responder
         Case Study, The Daily Business Review's Corporate Counsel Summit, May 2015.

     •   Data Security: What is a RAT? (Remote Access Trojan), Daily Business Review's Co1porate Counsel
         Summit, November 2014.

     • Data Security, Keeping Your Database, Customer Information and Other Proprietary Information Safe
         and What to Do If There Is A Security Breach, Daily Business Review's Corporate Counsel Summit,
         April 2013.

     •   Data Security, LawTech Miami, November 2013.
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Publications


    •    Globalization and Data Protection -   An Analysis of Practicality, PGDIP -   Global Business, Oxford
         University, Februai-y 2017.


    •    Electronic Discovei-y -   21 st Century Road map, Georgia Defense Lawyers Association Periodical, May
         2006.

    •    Firms Face Forensic Challenge, South Florida Business Journal, May 2006.


    •    Electronic Discovei-y: A Smart Five-Step Approach, South Florida Legal Guide, November 2006,
         Reprinted 2007.

    •    What Evei-y Business Needs to Know about Evidence Preservation and Electronic Discovery Issues,
         September 2007.

     •   Forensic Times Newsletter, 2007 & 2008. (Trade Publication produced by firm)

     •   Discovei-y Requests: Knowing when and how to proceed can save thousands and the case, Smart
         Business, May 2008.

     •   How to obtain information from an Internet Service Provider, 2016.




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 1
                                   PROOF OF SERVICE
                           Juan Alcazar, et al. v. Fashion Nova, Inc.
 2                                   3 :20-cv-0 1434-TSH
 3
          I, Jennifer M. Mitchell, am employed in the county of Los Angeles, State of
 4 California. I am over the age of 18 and not a party to this action. My business
                                          th
 5 address is 3055 Wilshire Blvd., 12 FL, Los Angeles, California 90010. My
   electronic service address is jmitchell@wilshirelawfirm.com . On June 23, 2023, I
 6 served the foregoing document described as:
 7
              PLAINTIFF'S EXPERT DISCLOSURE PER FRCP 26(a)(2)(B)
 8

 9    [ ✓]     BY ELECTRONIC SERVICE: Based on an agreement of the parties
               to accept electronic service, I caused the document( s) identified above
               to be sent to the person( s) at the electronic service addresses listed in
11             the below Service List, pursuant to FRCP 5(b)(2)(E). I did not receive,
               within a reasonable time after the transmission, any electronic
               message or other indication that the transmission was unsuccessful.

         Ryan L. Eddings                          Kara Adelle Ritter Cole
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21

22        I declare under penalty of perjury under the laws of the State of California
23 that the foregoing is true and correct.

24           Executed this June 23, 2023 at Los Angeles, California.
25
                                                         Isl Jenni er M. Mitchell
26                                                         Jenm er M. Mite e
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                                              1
                                       PROOF OF SERVICE
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~ U.S. Department of Justice
~ Civil Rights Division


   Guidance on Web Accessibility and the ADA

   This guidance describes how state and local governments and businesses open to the public can
   make sure that their websites are accessible to people with disabilities as required by the
   Americans with Disabilities Act {ADA).

   +Learn more about businesses' and state and local governments' ADA responsibilities.



   Why Website Accessibility Matters

   Inaccessible web content means that people with disabilities are denied equal access to
   information. An inaccessible website can exclude people just as much as steps at an entrance
   to a physical location. Ensuring web accessibility for people with disabilities is a priority for
   the Department of Justice. In recent years, a multitude of services have moved online and
   people rely on websites like never before for all aspects of daily living. For example,
   accessing voting information, finding up-to-date health and safety resources, and looking up
   mass transit schedules and fare information increasingly depend on having access to
   websites.

   People with disabilities navigate the web in a variety of ways. People who are blind may use
   screen readers, which are devices that speak the text that appears on a screen. People who are
   deaf or hard of hearing may use captioning. And people whose disabilities affect their ability to
   grasp and use a mouse may use voice recognition software to control their computers and other
   devices with verbal commands.

   The ways that websites are designed and set up can create unnecessary barriers that make it
   difficult or impossible for people with disabilities to use websites, just as physical barriers like
   steps can prevent some people with disabilities from entering a building. These barriers on the
   web keep people with disabilities from accessing information and programs that businesses and
   state and local governments make available to the public online. But these barriers can be
   prevented or removed so that websites are accessible to people with disabilities.




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Examples of Website Accessibility Barriers

   •    Poor color contrast. People with limited vision or color blindness cannot read text if
        there is not enough contrast between the text and background (for example, light gray
        text on a light-colored background).

   •    Use of color alone to give information. People who are color-blind may not have
        access to information when that information is conveyed using only color cues because
        they cannot distinguish certain colors from others. Also, screen readers do not tell the
        user the color of text on a screen, so a person who is blind would not be able to know
        that color is meant to convey certain information (for example, using red text alone to
        show which fields are required on a form).

   •    Lack of text alternatives ("alt text"} on images. People who are blind will not be able
        to understand the content and purpose of images, such as pictures, illustrations, and
        charts, when no text alternative is provided . Text alternatives convey the purpose of an
        image, including pictures, illustrations, charts, etc.

   •    No captions on videos. People with hearing disabilities may not be able to understand
        information communicated in a video if the video does not have captions.

   •    Inaccessible online forms. People with disabilities may not be able to fill out,
        understand, and accurately submit forms without things like:
           o   Labels that screen readers can convey to their users (such as text that reads
               "credit card number" where that number should be entered);
            o   Clear instructions; and
            o   Error indicators (such as alerts telling the user a form field is missing or incorrect).

   •    Mouse-only navigation (lack of keyboard navigation}. People with disabilities who
        cannot use a mouse or trackpad will not be able to access web content if they cannot
        navigate a website using a keyboard.




When the ADA Requires Web Content to be Accessible

The Americans with Disabilities Act applies to state and local governments (Title 11)
and businesses that are open to the public (Title Ill).
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                             State and local governments (Title II)

Title II of the ADA prohibits discrimination against people with disabilities in all services,
programs, and activities of state and local governments. State and local governments must take
steps to ensure that their communications with people with disabilities are as effective as their
communications with others. Many state and local government services, programs, and
activities are now being offered on the web. These include, for example, things like:

    •    Applying for an absentee ballot;
    •    Paying tickets or fees;
    •    Filing a police report;
    •    Attending a virtual town meeting;
    •    Filing tax documents;
    •    Registering for school or school programs; and
    •    Applying for state benefits programs.

A website with inaccessible features can limit the ability of people with disabilities to access a
public entity's programs, services and activities available through that website-for example,
online registration for classes at a community college.

For these reasons, the Department has consistently taken the position that the
ADA's requirements apply to all the services, programs, or activities of state and
local governments, including those offered on the web.

                       Businesses that are open to the public (Title Ill)

Title Ill prohibits discrimination against people with disabilities by businesses open to the public
(also referred to as "public accommodations" under the ADA). The ADA requires that businesses
open to the public provide full and equal enjoyment of their goods, services, facilities, privileges,
advantages, or accommodations to people with disabilities. Businesses open to the public must
take steps to provide appropriate communication aids and services (often called "auxiliary aids
and services") where necessary to make sure they effectively communicate with individuals with
disabilities. For example, communication aids and services can include interpreters, notetakers,
captions, or assistive listening devices. Examples of businesses open to the public:

    •    Retail stores and other sales or retail establishments;
    •    Banks;
    •    Hotels, inns, and motels;
    •    Hospitals and medical offices;
    •    Food and drink establishments; and
    •    Auditoriums, theaters, and sports arenas.
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A website with inaccessible features can limit the ability of people with disabilities to access a
public accommodation's goods, services, and privileges available through that website-for
example, a veterans' service organization event registration form .

For these reasons, the Department has consistently taken the position that the
ADA's requirements apply to all the goods, services, privileges, or activities
offered by public accommodations, including those offered on the web.


How to Make Web Content Accessible to People with
Disabilities

Businesses and state and local governments have flexibility in how they comply
with the ADA's general requirements of nondiscrimination and effective
communication. But they must comply with the ADA's requirements.

The Department of Justice does not have a regulation setting out detailed standards , but the
Department's longstanding interpretation of the general nondiscrimination and effective
communication provisions applies to web accessibility. 1

Businesses and state and local governments can currently choose how they will ensure that the
programs, services, and goods they provide online are accessible to people with disabilities.

Existing technical standards provide helpful guidance concerning how to ensure accessibility of
website features. These include the Web Content Accessibility Guidelines (WCAG) and the
Section 508 Standards, which the federal government uses for its own websites. Check out the
resources section for more references.

Even though businesses and state and local governments have flexibility in how
they comply with the ADA's general requirements of nondiscrimation and
effective communication, they still must ensure that the programs, services, and
goods that they provide to the public-including those provided online-are
accessible to people with disabilities.




1
    See 42 U.S.C. §§ 12132, 12182(a); 28 C.F.R. §§ 35.130, 35.160(a), 36.201, 36.303(c).
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Businesses and state and local governments should consider a variety of website features when
ensuring that their websites are accessible. The resources section has links to organizations that
explain how to make websites accessible. Examples of what businesses should do to make
websites accessible include (but are not limited to) the following practices:

   •   Color contrast in text. Sufficient color contrast between the text and the background
       allows people with limited vision or color blindness to read text that uses color.

   •   Text cues when using color in text. When using text color to provide information (such as
       red text to indicate required form fields), including text cues is important for people who
       cannot perceive the color. For example, include the word "required" in addition to red text
       for required form fields.

   •   Text alternatives ("alt text"} in images. Text alternatives convey the purpose of an
       image, including pictures, illustrations, charts, etc. Text alternatives are used by people who
       do not see the image, such as people who are blind and use screen readers to hear the alt
       text read out loud. To be useful, the text should be short and descriptive.

   •   Video captions. Videos can be made accessible by including synchronized captions that
       are accurate and identify any speakers in the video.

   •   Online forms. Labels, keyboard access, and clear instructions are important for forms to be
       accessible. Labels allow people who are blind and using screen readers to understand what
       to do with each form field, such as by explaining what information goes in each box of a job
       application form . It is also important to make sure that people who are using screen
       readers are automatically informed when they enter a form field incorrectly. This includes
       clearly identifying what the error is and how to resolve it (such as an automatic alert telling
       the user that a date was entered in the wrong format).

   •   Text size and zoom capability. People with vision disabilities may need to be able to use
       a browser's zoom capabilities to increase the size of the font so they can see things more
       clearly.

   •   Headings. When sections of a website are separated by visual headings, building those
       headings into the website's layout when designing the page allows people who are blind to
       use them to navigate and understand the layout of the page.

   •   Keyboard and mouse navigation. Keyboard access means users with disabilities can
       navigate web content using keystrokes, rather than a mouse.

   •   Reporting accessibility issues. Websites that provide a way for the public to report
       accessibility problems allow website owners to fix accessibility issues.
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 This is not a complete list of things to consider. There are many existing resources to help
 businesses and state and local governments with making websites accessible to people with
 disabilities, some of which are included at the end of this document.


Web Accessibility for People with Disabilities is a Priority
for the Department of Justice

When Congress enacted the ADA in 1990, it intended for the ADA to keep pace with the rapidly
changing technology of our times. Since 1996, the Department of Justice has consistently taken
the position that the ADA applies to web content. As the sample cases below show, the
Department is committed to using its enforcement authority to ensure website accessibility for
people with disabilities and to ensure that the goods, services, programs, and activities that
businesses and state and local governments make available to the public are accessible.

                                     Title II Sample Cases

   •    Project Civic Access: As part of the Department's Project Civic Access enforcement
        work, the Department has reached numerous agreements with cities and counties across
        the country that include web accessibility requirements. For example, City and County of
        Denver, Colorado, City of Jacksonville, Florida, and City of Durham, North Carolina .

   •    Miami University in Ohio: The Department reached an agreement with Miami
        University in Ohio to resolve the United States' lawsuit alleging that the university
        discriminated against students with disabilities by providing inaccessible web content
        and learning management systems.

   •    Nueces County. Texas: The Department reached an agreement with Nueces County,
        Texas, to address claims that the County used an online conference registration form
        that was not accessible to people with disabilities who use software that reads text out
        loud.

   •    Louisiana Tech: The Department reached an agreement with Louisiana Tech University
        to address claims that the university violated the ADA by using an online learning
        product that was inaccessible to a blind student.
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                                   Title Ill Sample Cases

 •    Rite Aid Corporation: The Department reached an agreement with Rite Aid Corporation
      to address accessibility barriers in Rite Aid's COVID-19 Vaccine Registration Portal.

 •    Teachers Test Prep. Inc.: The Department reached an agreement with Teachers Test
      Prep, Inc., regarding complaints that the test prep company's online video courses did
      not provide captions and were inaccessible to people who are deaf.

 •    HRB Digital and HRB Tax Group (H&R Block): The Department reached an agreement
      with H&R Block to address claims that the company failed to code its website so that
      individuals with disabilities could use assistive technology such as screen reader
      software, refreshable Braille displays, keyboard navigation, and captioning.

 •    Peapod: The Department reached an agreement with Peapod to address claims that its
      online grocery delivery services were not accessible to some individuals with disabilities.

Resources

 •    18F Accessibility Guide: a comprehensive accessibility guide with resources published by
      18F, a digital services agency under the General Services Administration (GSA).

 •    Digital.gov: this site, which is part of the Technology Transformation Services at the GSA,
      has resources on design of products, devices, services, or environments for people with
      disabilities.

 •    Section 508 Information and Communication Technology Accessibility Standards:
      standards published by the U.S. Access Board addressing access to information and
      communication technology under Section 508 of the Rehabilitation Act of 1973.

 •    Section508.gov: a website published by the GSA with tools and training on implementing
      website accessibility requirements under Section 508.

 •    Web Content Accessibility Guidelines (WCAG): guidelines published by the Web
      Accessibility Initiative of the World Wide Web Consortium.
